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                    United States District Court for the
                      Southern District of New York

Eric A. Elliott (p/k/a Fly Havana);                      Civ. No.

      Plaintiff
              vs.
Joseph Anthony Cartagena (p/k/a Fat Joe);               Declaratory Copyright
Karim Kharbouch (p/k/a French Montana);                 Claims and Supp. State
Shandel Green (p/k/a Infared);                          law Causes of Action
Reminisce Smith Mackie (p/k/a Remy Ma);
Marcello Valenzano (p/k/a Cool);
Andre Lyon (p/k/a Dre);
                                                        1. Decl of Auth.-Comp.
Edward F. Davadi, Jr. (p/k/a Edsclusive);
                                                        2.Decl. of Owner-Comp.
Joey and Ryan Music;
Excuse My French Music;                                 3. Decl. of Auth.-SR
Excuse My French Music II;                              4.Decl of Owner.-SR
Mr. Green Music;
                                                        5. Accounting
Remynisce Music;
Dade Co. Project Music, Inc.;                           6. Constructive Trust
Po Folks Music;                                         7. Unjust Enrichment
Warner-Tamerlane Publishing Corp.;
                                                        8.Quantum Meruit
Warner/Chappell Music, Inc.;
BMG Rights Management (US) LLC (d/b/a BMG Platinum      9. Conversion
Songs US);                                              10. Moneys Had and Rec.
Sony/ATV Allegro;
                                                        11. Breach Fiduc. Duties
Sony/ATV Tunes LLC;
Sony/ATV Music Publishing, Inc.;                        12. Negligence
Reach Music Publishing Inc.;                            13. Fraud/Neg. Misrep.
Reach Global Inc.;                                      14. Civil Conspiracy
Songs of Reach Global;
Cuts of Reach Music;
First N Platinum Publishing;
First N Gold Publishing, Inc.;
Kobalt Songs Music Publishing;
Kobalt Music Publishing America, Inc.;
Songs of Universal Inc.;
Universal Music-Z Tunes LLC(d/b/a Universal Music Z
Songs);
Roc Nation LLC;
Roc Nation Management LLC;
Sneaker Addict Touring LLC;
Terror Squad Productions, Inc.;
Terror Squad Entertainment;
RNG (Rap’s New Generation);
Empire Distribution, Inc.
      Defendants


                       Civil Action Complaint
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                                            Introduction

          1.       Defendants Fat Joe, French Montana, Remy Ma, Infared [sic], and others used

and took credit for plaintiff Fly Havana’s contributions to the 2016 double platinum single “All

the Way Up” without providing him his required credit, compensation, and ownership. Other

artists who performed remixes using Plaintiff’s work without providing credit or compensation

include Jay-Z, David Guetta, Glowinthedark, Snoop Dogg, The Game, E-40, Jay Park, AK-69,

DaBoyWay, SonaOne, Joe Flizzow, Farid Bang, Kollegah, Summer Cem, Seyed, Meek Mill,

Fabolous, Jadakiss, Daddy Yankee, Nicky Jam, DJ Laserjet, and Papoose.

          2.       Some Defendants, such as French Montana, do not appear to have actually

written anything in the song, but took writing credit anyway. French Montana did not even know

who wrote his part in “All the Way Up” until Plaintiff confronted him outside DJ Khaled’s

studio in 2017.

          3.       This action is a request for a declaration of authorship and ownership under the

Copyright Act to determine Plaintiff’s authorship and/or ownership share of the composition

and sound recording copyrights for the joint work “All the Way Up.” This is not an infringement

action.

          4.       This action also alleges fraud and civil conspiracy against Fat Joe and Infared

because both colluded to cheat Plaintiff out of credit and compensation for the massive hit,

despite Plaintiff’s authorship being so clear that Fat Joe gave Fly Havana a public shout out for

his work on the song at a concert. See “99Jamz Uncensored Fat Joe,” 99 JAMZ - YouTube (May

27, 2016), https://www.youtube.com/watch?v=-O9kg6-mW3w&feature=youtu.be&t=2236.

          5.       State law claims are being brought for damages to compensate Plaintiff for his

share of the millions of dollars earned by the song, but which were not provided to Plaintiff,

instead improperly and/or unjustly taken by Defendants.
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                                                 Facts

          6.       The plaintiff, Eric Elliott, is a struggling but talented Miami-based hip hop artist

known by the name Fly Havana.

          7.       In late 2015, Mr. Elliott co-created the song which the public now knows as the hit

single “All the Way Up,” performed by the artists Fat Joe (real name Joseph Cartagena), Remy

Ma (real name Reminisce Smith Mackie), Infared (real name Shandel Green), and featuring

French Montana (real name Karim Kharbouch).

          8.       The initial creation took place at Circle House studio in Miami over the course of

four to five hours in late 2015, where Mr. Elliott and Infared collaborated to create the initial,

unfinished version of the song. That initial, unfinished version of the song put together that day

can be found here: https://www.youtube.com/watch?v=8_1R1WTXnBM.

          9.       Later, other authors—purported to be Fat Joe, French Montana, Remy Ma, and

others—added to the work to create the final released version the world knows as a hit song. Part

of “All the Way Up” and the album Plata O Plomo were created in Miami, and the other half in

New York City. 1

          10.      The unfinished version is in many respects identical to the released version,

including the musical composition, parts of the lyrical composition, the vocal melody, the

rhythmic flow of the lyrical cypher, and the sound recording. Compare “All the Way Up,” Fat

Joe - YouTube, https://www.youtube.com/watch?v=y2ak_oBeC-I, with “All the Way Up -

Unfinished Version,” YouTube, https://www.youtube.com/watch?v=8_1R1WTXnBM.

          11.      Indeed, when counsel for Plaintiff uploaded the unfinished version to YouTube

for this lawsuit, YouTube’s algorithm, Content ID, automatically flagged the recording as a copy

of Fat Joe’s release.

1
    https://www.youtube.com/watch?time_continue=1&v=SQjRMAVgsXo.
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        12.      At all points all bona fide authors intended that their respective contributions be

used to create a single intertwined and inseparable song, and intended to jointly author the work.2

There were no oral or written authorship or ownership agreements to which Plaintiff was a party

prior to the creation and release of the song. All of the expression that Plaintiff contributed was

original, novel, distinct, unique, and otherwise independently copyrightable.

        13.      It was Infared who later introduced the song to his collaborator and acquaintance,

Fat Joe, a well-known hip hop artist, who is also known by the names “Fat Joe da Gangsta” and

“Joey Crack.” Infared mentioned at the beginning of the Circle House session to Plaintiff that he

was looking to get Fat Joe some music and Plaintiff supported the song being shopped to Fat Joe

so it could be further developed and released.

        14.      The creation started when, while in the studio, they were listening to different

beats that Infared had brought with him and Mr. Elliott recognized a beat by (and the tag of) a

then-little known producer named Edsclusive (real name Edward Davadi), whom he had closely

worked with on music for about a year in 2014 and early 2015.

        15.      Elliot and Infared wrote the song together using the beat, but it was Elliott who

framed out the song and guided its creation at Circle House.

        16.      Loosely speaking, the unfinished and released versions of “All the Way Up”

consist of four sections, which each include: (1) a verse, (2) a pre-hook, and (3) a hook.

        17.      As can be heard on the unfinished version of the song (found here

https://www.youtube.com/watch?v=8_1R1WTXnBM), and seen in the lyrics comparison on the

following page, the unfinished version and released version are virtually identical in terms of song

structure, lyrics, and content:


2
 Infared admitted in an interview (https://www.youtube.com/watch?v=cSL89zOiCnc) that the songs he creates as
collaborations are single, inseparable songs: He stated that independent portions contributed by one songwriter or
another are not important, what is important is “a collaboration of talent working together doing one [song].”
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See Exhibit 1 - Full Song Structure and Lyrics Comparison of Unfinished and Released Versions.
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       18.     Plaintiff’s contributions to the song are as follows:

Hook

       19.      This is the portion of the song which has the lyrics “all the way up.” The hook

starts the song, and then follows the pre-hook 4 times, as well as plays one time in the outro.

       20.      Mr. Elliott and Infared both authored the titular line “all the way up.” The

genesis of the hook came from a conversation where Mr. Elliott stated that the song they were

going to create would go “all. the. way. up.” the charts. Then Infared went into the booth and

repeated the “all. the. way. up.” line that Mr. Elliott had just said. This creation was

spontaneous and collaborative. Infared raps the hook on the unfinished version and the released

version.

       21.     This portion of the released song is virtually identical to the initial, unfinished

version. Compare Exhibit 1 - Comparison of Lyrics for Unfinished and Finished Versions;

Compare         “All       the        Way        Up,”         Fat       Joe       -       YouTube,

https://www.youtube.com/watch?v=y2ak_oBeC-I, with “All the Way Up - Unfinished

Version,” YouTube, https://www.youtube.com/watch?v=8_1R1WTXnBM.

       22.     Furthermore, the sound recording from the initial version’s hook is used in the

released version. Id.

Verse 1, Verse 4, and Pre-Hook

       23.     Verse 1 is the portion of the song which starts with “Shawty what you want? I got

what you need?” and ends with “Got bottles, got weed, got molly.” Plaintiff wrote the lyrics, and

also created the vocal melody and rhythmic flow of this verse. Note that Verse 1 is later repeated

as Verse 4.




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        24.      Plaintiff raps this part of the song in the unfinished version, while French

Montana raps it in the finished version. The lyrics have been slightly modified in the finished

version.

        25.      Following Verse 1 is the pre-hook which repeats the line “Shorty what you want? I

got what you need.” Plaintiff wrote the lyrics, and also created the vocal melody and rhythmic

flow for the pre-hook. This pre-hook is repeated twice in the song, always before the hook.

        26.      Note that in the released song the line “Shawty what you want? I got what you

need” is repeated a total of eight times.

        27.      Plaintiff raps this part of the song in the unfinished version, while French

Montana raps it in the finished version. It is otherwise unchanged, and has the same vocal melody

and lyrical flow.

        28.      Notably, it was Mr. Elliott who suggested to Infared at Circle House that French

Montana perform Verse 1, Verse 4, and the pre-hook (that Plaintiff had just written and

performed) based on the sections’ feel and style and because French was hot.

Verses 2 and 3

        29.      These are the verses rapped by Fat Joe and Remy Ma in the released version. In

the unfinished version they were performed by Infared and a woman singing in Spanish. The

lyrics in these verses were completely replaced in the finished version.

        30.      These verses are not important enough to be repeated in the song.

        31.      Plaintiff’s contribution to these verses was to create the vocal melody and

rhythmic flow which is carried throughout the song, the verse, and pre-hook.

        32.      Following the initial creative session at Circle House, Infared and Plaintiff left

with   a      copy   of   the   unfinished   song   on   the   CD.    It   can   be   found   here:



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https://www.youtube.com/watch?v=8_1R1WTXnBM. The Pro Tools audio files remained at

Circle House and it is believed that Infared may also have taken a copy.3

        33.      All of the joint authors who contributed to the song intended that their

contributions be merged with the later contributions of other artists into a single, inseparable

song for release. All the participants have admitted that the creation of the song was a joint

collaboration.

                      Plaintiff Received a Text From Infared’s Friend

        34.      As noted above, Infared knew Fat Joe and introduced the song to him. However,

shortly later Infared went radio silent on Plaintiff.

        35.      Several months later Infared’s friend, a black African male, texted Plaintiff out of

the blue.

        36.      “French is going to use what you did. They’re not gonna give you shit. I told you

not to fuck around but you didn’t listen. Lololol. Hahaha.”

        37.      Plaintiff then tried to call him repeatedly but he refused to pick up.

        38.      It was at the same time that Plaintiff first heard “All the Way Up” on the radio,

on or about March 3, 2016.

                         Fat Joe and Plaintiff Speak on the Phone and
                           Plaintiff’s Authorship is Acknowledged
        39.      The song was announced by Fat Joe on March 1, 2016, and released on March 2,

2016. On or about that time Plaintiff also posted on Instagram that Fat Joe needed to call him in

24 hours to resolve the situation.

        40.      Fat Joe then called Plaintiff from a blocked number within 24 hours of the

Instagram post, on or around March 4, 2016. Fat Joe was angry and threatening on the phone

3
  Pro Tools is the industry standard digital audio workstation software and hardware which professional studios use
to record music. It is analogous to Microsoft Word for word processing.
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call, but relayed that even though he initially thought Elliott had nothing to do with the song,

when he listened to the unfinished version he realized that Mr. Elliott had actually written and

performed on it. There was a second call the next day which was also unproductive.

         41.      A day or so later, Mr. Elliott and Fat Joe spoke again, on or about March 6, 2016.

This call was conciliatory and seemingly productive. It was acknowledged that Elliott was a co-

author of “All the Way Up” and should get credit. Mr. Elliott explained to Fat Joe on the call

that he was confused about why he had not been contacted about any credit or compensation

despite Elliott doing a great deal of the work on the song. Mr. Elliott said he wanted to get paid

up front or have publishing going forward.

         42.      To lull Mr. Elliott into a false sense of security, Fat Joe told Elliott that (1) he

would get him “some bread” up front (which Plaintiff understood to be a significant sum for a

song that was becoming a hit single) for his contributions to the song (2) more bread later as the

song produced income, (3) that they would begin working together because Mr. Elliot was hot

and “in the zone,” and (4) that Elliot needed to realize that he would have an “incredible

relationship” with Fat Joe going forward if he respected Fat Joe. These statements were

knowingly false and/or highly misleading, and Fat Joe intended Plaintiff to rely upon them.

         43.       Fat Joe also made a veiled threat at the end of the call by claiming that if Mr.

Elliott ever disrespected him that their relationship would go to “another place” with

unmentioned consequences. Given Fat Joe’s reputation,4 and that the new album was named

Plata O Plomo after Pablo Escobar’s cartel catch phrase (which translates to “silver or lead,” take

4
  Fat Joe has earned a certain reputation which Plaintiff was aware of. In addition, to describing himself as a
“gangsta,” Fat Joe also has a long rap sheet. He was arrested for assault and robbery in 1998, with an even larger
man named Big Punisher, for beating a gentleman with a baseball bat in the Bronx and stealing his gold chain. The
charges were dismissed after the victim refused to testify against his abusers. Fat Joe was arrested again for a fight in
Times Square in 2002, but the charges were also dismissed. He has also been an eyewitness to multiple murders,
including one by his former bodyguard in 1994 in the Bronx, to which investigators claim he was in close proximity.
In addition, he was a witness to a double homicide in 2007 in South Beach after two men who were passengers in a
Cadillac Escalade he was riding in were shot to death. His label is called Terror Squad and he also goes by “Joey
Crack.” He is considered one of the golden age gangsta rappers where street credibility is paramount to success.
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a bribe or a bullet), this was not an idle threat. Plaintiff assured him that he did not want any

trouble. Fat Joe demanded that Plaintiff trust and believe him, and Plaintiff responded that he

did.

        44.     Fat Joe is well aware of his reputation as “Fat Joe da Gangsta” and knew that

Plaintiff had no leverage and was struggling; Fat Joe was taking full advantage of this situation.

Fat Joe is also 6’1” and around 300 lbs, while Plaintiff is 5”7’ and 150 lbs.

        45.     Fat Joe said that he was out of town—which Plaintiff understood to be New York

City where Fat Joe is from and where Fat Joe was working on the song’s release—and that he

could meet Plaintiff in a week when he got back.5

        46.     For Mr. Elliott, a struggling artist who was “grinding,” this is the break that he

could only dream of. Fat Joe had told him that he was going to pay him, break him as an artist,

and push and promote him.

        47.     It must be kept in mind when reading this complaint that Mr. Elliott has no

business or music industry experience, failed out of high school before then graduating from a

home school vocational technical program, failed out of college in his first year, and now can

barely make ends meet sweating over a grill as a part-time short order cook at a restaurant. Fat

Joe knew all this, which is why he was pressuring and defrauding Plaintiff, because he saw a

problem he could fix by taking advantage of Plaintiff.

        48.     Around one week after the phone call, on March 14, 2016, Fat Joe called Mr.

Elliott and told him to come to an address, but did not say why. Mr. Elliott had assumed it was an

office for an attorney, and only when Mr. Elliott was almost there did he realize that Fat Joe had

actually picked an IHOP in Miami Beach—off all places.


5
  A podcast promoting the “All the Way Up” release places Fat Joe and Remy Ma in Manhattan on March 4, 2016
(https://www.youtube.com/watch?v=mmceUiN5aso), and a Getty Images search shows that both attended the “All
the Way Up” release party at Club Aces in New York City on March 7, 2016.
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       49.     When Mr. Elliott arrived Fat Joe was already in the IHOP but had left a crew of at

least three men sitting outside in a black car. As noted above, Fat Joe has a reputation on the

street; having a crew sitting outside was intended to send a message after Fat Joe’s statements on

the phone call about the consequences of disrespecting him.

       50.     At that meeting, which lasted about 30 minutes, Fat Joe gave Plaintiff a check

signed “Joseph Cartagena” for $5,000, the memo line of which read “write,” for Mr. Elliott’s

writing contributions to “All the Way Up”:




       51.     Defendant Sneaker Addict Touring LLC is Fat Joe’s company.

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           52.       Given that Mr. Elliott had understood that the amount would be much higher,

given the success of the single, he incredulously asked Fat Joe “Are you serious?” Fat Joe sought

to assuage Mr. Elliott, and further lull him into a false sense of security, and said that this was all

he had right now from the song for Elliott, and repeatedly reassured him that “you’re going to

get more later.”

           53.       Importantly, Fat Joe stated that because “there’s so many people on the song,”

that it was best for Plaintiff if he got some money up front, more money later, and that Plaintiff

and Fat Joe start working and collaborating together to make hits.

           54.       Fat Joe also put a piece of paper in front of Plaintiff saying that it was necessary

him to sign the document, the content of which Fat Joe told him essentially memorialized Fat

Joe’s representations about getting “some bread” up front, more later, and working together.

The way it was presented by Fat Joe was that it was supposed to protect Elliott’s rights and

secure Fat Joe and Plaintiff’s future relationship. Mr. Elliott was not sent the paper in advance,

was given no chance to review the paper with a lawyer, nor was he allowed to retain a copy of the

paper. Mr. Elliott has little education and no business experience.

           55.       When Fat Joe represented to Plaintiff both in phone calls and/or in person that he

would be getting “some” money up front, more payments later for Plaintiff’s role in writing the

song “All the Way Up,” and that Fat Joe would work with Plaintiff to make more hits and boost

his career as part of an incredible relationship moving forward, these were knowingly false

representations when made which he intended Plaintiff to rely upon to Plaintiff’s detriment.

           56.       Based on Fat Joe’s false assurances Plaintiff felt that he had to sign the document

and take the check.6




6
    Not to mention the fact that Fat Joe had told Plaintiff not to disrespect him and left a crew waiting outside.
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       57.     He thought that this was an inflection point in his career and life, which to that

point had not been privileged to say the least. He even took a picture with Fat Joe in the parking

lot of the IHOP, elated at the upturn he thought his life had taken:




       58.     Mr. Elliott had no idea that Fat Joe had told him a series of lies calculated to

deceive Plaintiff, designed to relax his vigilance, and lull him into a false sense of security. He

would never have taken the $5,000 or signed any document had he any inkling he was being

double crossed. Fat Joe did this solely for his, Infared’s, and the other Defendants’ gain—to

Plaintiff’s detriment.

       59.     At all points Plaintiff’s intent was to simply secure his fair share of credit,

compensation, and ownership for his contributions to the song (composition and sound

recording) that the other authors had already received.


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                               The Next Meeting with Fat Joe

        60.     Around two weeks after the meeting, Fat Joe called Plaintiff to come to Cool &

Dre’s music production studio (real names Marcello Valenzano and Andre Lyon, respectively) in

Miami but did not say why. When Plaintiff arrived, the only people there were Fat Joe, Dre, two

engineers (one black, one Hispanic), and also a pit bull (not the artist).

        61.     Plaintiff did not understand why he was there because while the others hung out in

the main room, he was ushered to and sequestered in a small side studio. There was no

interaction with Fat Joe or the others on any work or music.

        62.     Moreover, nothing was functional in the small studio he was placed in, including

the microphones, speakers, and music gear, making the studio useless. The Hispanic engineer

checking in on Plaintiff was clearly angry that Plaintiff was even there, and it was evident from his

limited initial interactions with those present that no one actually intended to work with Elliott.

After sitting for hours with no interaction, and being frozen out, Plaintiff did not know what to do

and was pushed to leave.

        63.     Fat Joe only invited Plaintiff to the studio to give flimsy cover to his false

statements that he intended to work with Plaintiff, make music, and form an incredible

relationship, while never actually intending to do any of this; Fat Joe’s true goal was to instead

take Plaintiff’s credit, money, and ownership for himself, Infared, and the other Defendants.

        64.     At no point after this did Fat Joe reach out to Plaintiff again, nor did he attempt to

make additional payments or work with Plaintiff on music as he previously stated. Because Fat

Joe refused to give Plaintiff his contact information Plaintiff had no way to contact him, although

he tried.




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                             Confrontation at Fat Joe’s Show

       65.      Some time later, Plaintiff heard that Fat Joe was giving a show in Fort Lauderdale

at Revolution Live for 99 Jamz on May 26, 2016, and Plaintiff went to confront him to ask him to

make good on his prior representations.

       66.      When he arrived at the venue, Fat Joe saw Plaintiff and began to talk to him. Fat

Joe said “yo, whatcha doing in the studio?” trying to make like they were friendly for the crowd

around them. Plaintiff responded “I’m supposed to be working with you. You know I haven’t

been in any studio. You haven’t contacted me and I don’t even have your number or email.”

There was a crowd of people and the situation became awkward.

       67.      At that point Fat Joe went on stage to perform. While on stage, to attempt to get

on Mr. Elliott’s good side, Fat Joe said that “All the Way Up” was the biggest song in the

country and, when listing those who worked on the song, shouted out “Fly Havana” before

anyone else for his writing and contributions on the track. The shout out can be heard here:

https://www.youtube.com/watch?v=-O9kg6-mW3w&feature=youtu.be&t=2236.

       68.      After his performance, Plaintiff asked Fat Joe “when are you going to start paying

more of the money like we talked about?” Fat Joe responded “we can talk about more money

when you start bringing me more hits.” At this point Mr. Elliott retorted “no, that’s not what

you said, you said more money was coming, but you haven’t paid. And you haven’t worked with

me.”

       69.      Remember, by this time, the song was as massive hit. Elliott pointed out to Fat Joe

that the song was blowing up and everyone was getting paid but Elliott who he had just shouted

out on stage.

       70.      At this point, Fat Joe started getting angry, then started talking about how Elliott

had to pick what “side you are on,” which was understood to be a veiled threat. Plaintiff did not
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want any problems, and Fat Joe had retreated to stand by security and his entourage, so Plaintiff

left.

        71.    Following this exchange, Plaintiff left and has had no further contact with Fat Joe.

He has received no additional payments and Fat Joe never worked with him.

                     Efforts by Defendants to Deceive the Public

        72.    Defendants have repeatedly pushed false versions of the song’s creation to the

public to attempt to explain how the song was created.

Edsclusive Creates Impossible Story Describing Song’s Creation to Exclude Plaintiff

        73.    In a June 2016 article that Plaintiff was not aware of until recently, defendant

Edsclusive claimed that he was somehow connected with Fat Joe in late 2015, who was looking

for instrumentals on an upcoming album. Edsclusive claims that Fat Joe picked out the beat as

being hot before the rest of the song was created. See Tom Centeno, “How Miami’s Edsclusive

Helped Produce One of the Summer’s Hottest Singles,” Miami New Times (June 16, 2016),

https://www.miaminewtimes.com/music/how-miamis-edsclusive-helped-produce-one-of-the-

summers-hottest-singles-8527786.

        74.    Edsclusive also claims that before Infared wrote the hook that Edsclusive

originally suggested that French Montana be brought in to finish off writing the song because

“something was missing.” Id. This story is not true, and is in fact impossible, because only the

bare beat existed before the hook was written by Plaintiff and Infared. French Montana could not

have finished of a nonexistent song.

        75.    Infared admits in a 2016 interview that Edsclusive’s beat was the initial seed he

brought to Circle House, and that the song was created using that beat in one day at Circle

House, including the hook, pre-hook, and the verses; neither Edsclusive nor Fat Joe were

present. See “Infared Speaks On creating the hook on Fat Joe & Remy Ma’s “All The Way Up,”
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Report         Card          Radio        -        YouTube           (Oct.     17,       2016),

https://www.youtube.com/watch?v=cSL89zOiCnc. The beat alone had no lyrics, vocal melody,

or flow of the lyrical cypher.

         76.    Note that Edsclusive’s claim that French Montana had some role in writing the

part he raps is also totally false; Plaintiff wrote it on his own and by himself at Circle House

contemporaneous with the creation of the hook.

         77.    What makes Edsclusive’s statements even more bizarre is that he knows Plaintiff

well and, having heard the unfinished version, would have known that Plaintiff performed on it.

They extensively collaborated around 2014 and early 2015 for approximately one year, while

Edsclusive was unknown and struggling, with Fly Havana helping Edsclusive stay afloat.

         78.    This is a picture of them together from this time period:




Infared Lies to An Interviewer to Avoid Crediting Fly Havana in Late 2016

         79.    Some time around October 16, 2016, Infared gave an interview to Report Card

Radio, an entertainment YouTube channel, at Circle House studios about how he allegedly

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created the hook for “All the Way Up.” See “Infared Speaks On creating the hook on Fat Joe &

Remy Ma’s “All The Way Up,” Report Card Radio - YouTube (Oct. 17, 2016),

https://www.youtube.com/watch?v=cSL89zOiCnc. Plaintiff only recently became aware of this

interview.

        80.     Infared said that he had just been signed by Reach Music for a two year deal and

had already gotten a big chunk of money from the song.

        81.     He confirmed that the song was almost entirely made in the Circle House studio

in one day. Infared said that Fat Joe had, a few days prior to that session, called him to Cool &

Dre’s studio and had him listen to Edsclusive’s work. Infared picked two beats out and took them

with him.

        82.     Infared said that three days later he was at Circle House, and that the engineer

there started playing the beat as soon as Infared was in the vocals booth and the words “nothing

can stop me I’m all the way up” just came out of him unbidden. He completely omitted that the

line came from a conversation with Plaintiff, instead taking all credit for himself.

        83.     He then said of the song’s success “It went Platinum in four months, so that’s big.

A lot of people don’t go platinum these days . . . for that to go platinum is like huge, is like big for

hip-hop, is big for me, for Joe, for Remy, for Edsclusive, and everybody that has something to do

with the record.” Of course, it was not big for Fly Havana, who Infared cheated out of credit and

compensation and then continued to cover it up in the interview he was giving.

        84.     Infared was then asked about Miami artists who were good, and who he was

collaborating with. Infared then listed artists in the Miami hip hop community, taking great pains

to avoid any mention of Fly Havana despite Plaintiff having collaborated on the song he was being

interviewed about (“All the Way Up”) in the very studio he was being interviewed in (Circle

House). This omission is glaring.
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       85.     Infared also admitted in the interview that the songs he creates are collaborations.

He stated that independent portions contributed by one songwriter or another are not important,

what is important is “a collaboration of talent working together doing one [song].”

       86.     Infared also said that people in the hip-hop community should not fight with each

other because: “We black. You know, at the end of the day we black people. You know, going

against each other, with what’s going on in the communities, I think they [other rappers] should

just you know squash the beef and move on and continue to make good music.” Apparently,

Plaintiff’s blackness mattered was irrelevant when Infared stood to financially benefit.

                          Confrontation with French Montana

       87.     In 2017 Plaintiff was at Legacy Studio, next to DJ Khaled’s Studio in Miami.

       88.     Plaintiff saw that French Montana was there and introduced himself. French

Montana was on the other side of a fence and was going to come around to take a picture.

       89.     Plaintiff said, “Yo, I’m the guy who wrote your part in ‘All the Way Up.’”

       90.     At this point, French Montana went silent, did not deny what Plaintiff said,

refused to take a picture, and retreated backward on the other side of the fence.

       91.     It was apparent that, until that very moment, French Montana had not actually

known who had written the part he performed and took credit for on “All the Way Up.”

             Negotiations at Roc Nation, Which Signed Fat Joe in 2017

       92.     In late 2017, Fly Havana interviewed with Roc Nation (Jay-Z’s label) for four days

in Manhattan, meeting executives and industry insiders. He was introduced to Roc Nation by

Jay-Z’s good friend Memphis Bleek.

       93.     Plaintiff’s authorship of “All the Way Up” was discussed in these meetings. Also

present was DJ Rel Carter, Jay-Z’s nephew, who does A&R for the label.


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        94.      Everyone at Roc Nation knows that Plaintiff had a huge hand in writing “All the

Way Up,” but everyone has avoided crediting him.

                                 Confrontation with Infared

        95.      In Fall 2018, Plaintiff was at a club in South Beach called Mr. Jones. While there

he saw Infared. Infared came over to Mr. Elliott as if they were friends and kept trying to

insinuate that everything was cool. Infared’s African friend was with him.

        96.      However, Mr. Elliott knew that Infared had gotten paid and credited on “All the

Way Up” while Plaintiff had been excluded.

        97.      Elliott responded to Infared that everything was not cool, that Infared had

backstabbed him, took the song, took his money, took his credit, and cut him out.

        98.      Infared responded, pointing to a friend, saying “my shooter’s right here,”

threatening to have Plaintiff shot.

        99.      The conversation was brief but tense, and ended shortly thereafter as Plaintiff

feared for his life.

                                Success of “All the Way Up”

        100.     As time went on, Mr. Elliott saw multiple Defendants taking credit for writing and

producing “All the Way Up,” despite the fact that he knew he had actually done much of the

writing and production.

        101.     Note that Fat Joe repeatedly affirmed that Mr. Elliott had written the song—

including on the face of the check Fat Joe signed and at the show in Fort Lauderdale—and never

in any way repudiated his authorship of the composition and sound recording. No one has denied

that Plaintiff co-authored the song.




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       102.    “All the Way Up” now has hundreds of millions of views on YouTube, went

double platinum, won awards with BMI, and has also been made into at least 6 remixes by top

industry figures such as Jay-Z, Snoop Dog, and The Game. This song revitalized Fat Joe’s

flagging career, and Jay-Z’s label Roc Nation signed Fat Joe in early 2017 because of the success

of “All the Way Up.”

       103.    Infared stated in the interview with Report Card Radio that he already got a good

chunk of cash as of October 2016 and that everyone credited on the song is doing “real good”

and “it’s a blessing.” He also stated the “success is incredible” and that it is an undeniable hit.

Fat Joe and the others credited on the song have echoed this sentiment.

       104.    Yet, Mr. Elliott has not seen an iota of credit and no further compensation since

the IHOP meeting on March 14, 2016.

       105.    All authors of the final version of “All the Way Up” intended that their

contributions be merged into an inseparable song and to jointly own the song. All those who

authored the song deserve credit. But while Mr. Eilliott simply wants everyone to get their fair

share, Defendants have sought to cut Plaintiff out to increase their own take.

       106.    As a joint author of a joint work, Plaintiff has an undivided, equal authorship

and/or ownership interest in “All the Way Up” (composition and sound recording).

       107.    Under the Copyright Act, co-authors and co-owners must always properly credit

the other co-authors, and also account to their co-authors and co-owners for the monies derived

from the exploitation of the copyright.

       108.    Here, the other co-authors and co-owners never properly credited Mr. Elliott as

an author, owner, and producer, including when they filed numerous copyright registrations for

the released versions of “All the Way Up”:

           a. August 16, 2016 - PA0002040670 (Single)
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                b. September 13, 2016 - PA0002044244 (Single)

                c. March 6, 2017 - PA0002072843 (on album Plata O Promo)

                d. July 28, 2017 - PA0002085385 (on album Plata O Plomo)

         109.      The authors listed on these applications are: Joseph Cartagena, Reminisce Smith,

Shandel Green, Edward Davadi, Marcello Valenzano, Andre Lyon, and Karim Kharbouch. Note

that Kharbouch is not included as an author on the August 16, 2016 and July 28, 2017

registrations. Various entities are also listed as copyright claimants, most likely through

purported transfers of ownership.

         110.      These same authors and entities are listed on the performing rights organizations’

registrations for the song (BMI and ASCAP).

         111.      Because Mr. Elliott is not being acknowledged, credited, or compensated by his

co-authors and co-owners as a co-author/author and/or co-owner/owner he is bringing this

action    for     declaration   of   joint   authorship/authorship   and/or   declaration     of   joint

ownership/ownership of his shares in both the composition and sound recording for all “All the

Way Up.”

         112.      Plaintiff contends that a great deal of the composition (music and lyrics) and

sound recording (as a producer and writer) were created by him and that his authorship and

ownership share determinations must be determined by a jury.

         113.      Plaintiff notes that it appears from the claimants on the copyright registrations

filed by Defendants that his alleged co-authors have attempted to divide up, assign, and/or

contract away his shares of “All the Way Up” without his permission—thereby effectively

extinguishing his credit and authorship. Any such division, contract, or transfer of Plaintiff’s

rights—especially to the extent they attempt to transfer his ownership of the song—are invalid as

they attempt to transfer rights the Defendants never owned.
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       114.    Note that there was never a preexisting agreement, before the song’s creation and

release, to which Mr. Elliott was a party which delineated the respective authorship and

ownership shares in the song between the co-authors.

       115.    His interest in the song vested at the creation of the joint work “All the Way Up,”

as did the interests of all authors of the song, solely by operation of the Copyright Act’s default

authorship/ownership rules, See, e.g., 1976 Copyright Act, § 101, 201. His shares of authorship

and/or ownership in the composition and sound recording in “All the Way Up” must be

determined by a jury pursuant to the Copyright Act.

       116.    In addition to the federal declaratory authorship and ownership claims being

brought, Plaintiff is also bringing state law causes of action for damages including but not limited

to an accounting, constructive trust, unjust enrichment, fraud, conversion, and moneys had and

received. Defendants have received and benefitted from monies that are rightfully Plaintiff’s, and

have also deprived him of enjoying the success and notoriety as an author of a worldwide hit.

       117.    In addition, Fat Joe and Infared’s egregious misconduct goes far beyond simply

failing to properly give credit and ownership on a song. It is now apparent that Fat Joe was

blatantly lying (with Infared’s participation) when he indicated repeatedly in early-to-mid 2016

(on the phone and at the IHOP) to Mr. Elliott that (1) he would give Plaintiff some money

upfront, (2) he would provide more money later as the song earned income, (3) he did not have

additional money for Elliott at the moment, (4) that the co-authors were not making that much

money on the song, and (5) that he was going to be extensively working with Elliott to produce

more hits.

       118.    It is further apparent that Fat Joe was working with Infared to ensure that Plaintiff

was never properly credited or compensated, as Infared always knew that Plaintiff was an author.



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       119.    Infared (aka Green) sat with Plaintiff and wrote and recorded on the song with

him at Circle House studio in late 2015. Infared never intended to credit Plaintiff. Infared then

took the song to Fat Joe, who had the final version created. Fat Joe later acknowledged to Plaintiff

personally, both orally and in writing, that he was an author of the song. Yet, despite both Infared

and Fat Joe knowing that Plaintiff was an author, Fat Joe (with Infared’s knowledge and

participation) made false representations to Plaintiff (on March 6, March 14, late March, and

May 26, 2016) to deceive Plaintiff, take his money and credit, relax his vigilance, and to obtain his

signature on a memo Plaintiff was not allowed to retain (that was allegedly supposed to protect

Elliott’s rights and allow Fat Joe and Plaintiff to work together).

       120.    At all points Fat Joe only intended to give Mr. Elliott the smallest fraction of his

due in order to gain Plaintiff’s trust, and never intended to fully compensate him, credit him, and

work with Plaintiff. Fat Joe and Infared’s intent was at all times to take Plaintiff’s credit and share

of the compensation.

       121.    Afterwards, everyone who collaborated on the song with him went dark and

blacklisted him.

       122.    These were all overt acts taken to defraud Plaintiff. Other overt acts in

furtherance of this fraud were perpetrated in 2016, 2017, and 2018 when Fat Joe and Infared

caused Plaintiff to be omitted as an author/owner of the song anywhere in the world, including on

all registrations filed on their behalf with performing rights organization, the Copyright Office,

labels, imprints, distributors, those who administer copyrights, and elsewhere. They did this for

the purpose of taking Plaintiff’s credit and compensation for themselves.

       123.    Fat Joe was preying on a struggling, inexperienced artist. Mr. Elliott relied to his

detriment on Fat Joe’s 2016 statements regarding providing Plaintiff additional and continuing



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compensation, and also providing Plaintiff a career in the music industry and maintaining a

working relationship with Plaintiff in the music industry.

       124.       Had Mr. Elliott known that Fat Joe was playing him for a fool—and never

intended to follow through on any of his representations—Elliott would never have taken the

partial payment of $5,000 or signed any document. Had Plaintiff known that he was being lied to

he would have been able to take corrective action to protect his rights when the song was initially

being released.

       125.       As a result of his justifiable reliance on these false statements, Plaintiff was

deprived of credit and compensation for a hit song known across the world, which would not only

have provided him substantial income, but would have launched a successful music career as it

did for defendant Edsclusive who was not established before “All the Way Up.”

       126.       Plaintiff is requesting that defendants Infared and Fat Joe be found liable for fraud

and civil conspiracy (along with any other entities the two own and/or control including but not

limited to Mr. Green Music, Sneaker Addict Touring, Joey and Ryan Music, Terror Squad

Entertainment, Terror Squad Productions, and RNG), as well as punitive damages.

       127.       Predatory, cheating conduct is rampant in the entertainment business, and a

strong message must be sent to those who would seek to cut rightful authors out of receiving their

fair share. Credit must be given where it is due, and those who deliberately seek to take another’s

work and compensation should be punished severely, including as a deterrent to stamp out such

misconduct. This conduct is intentional, outrageous, reckless, and/or reprehensible.

       128.       Based upon the above allegations, Plaintiff respectfully requests declaratory

judgment under the Copyright Act that he has joint authorship and ownership in the composition

and sound recording of “All the Way Up,” as well as relief under state law causes of action.



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       129.    As a result of Defendants’ actions and omissions, Plaintiff is entitled to remedies

of including but not limited to:

           a. Declaratory Judgment of his joint authorship/authorship and/or joint
              ownership/ownership in the composition and sound recording of “All the Way
              Up”.

           b. Compensation in the form of royalties, licensing fees, concert revenues,
              advertising, and any other monies accrued as a result of the exploitation of “All
              the Way Up”

           c. Compensation and equitable relief to correct his lack of credit

           d. Compensation for lost career opportunities

           e. Attorney’s cost and fees under Section 505 of the Copyright Act

           f. Punitive and exemplary damages for Defendants’ outrageous, intentional, and
              fraudulent behavior.

           g. Any other relief appropriate under the Copyright Act, and/or equitable relief or
              remedies that the Court deems just and necessary.

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                                          Parties
Plaintiff Eric Elliott (p/k/a Fly Havana)

       130.    Plaintiff is a resident of Miami, FL.

       131.    Plaintiff co-wrote “All the Way Up” in late 2015, but was not properly credited or

compensated.

Defendant Josepha Cartagena (p/k/a Fat Joe)
 Joey and Ryan Music
 Sneaker Addict Touring LLC
 Terror Squad Productions, Inc.
 Terror Squad Entertainment
 RNG (Rap’s New Generation)

       132.    Defendant Joseph Cartagena is originally from New York City, and holds himself

out to be from New York City, especially when selling and promoting his music.

       133.    Defendant Cartagena is a purported author and/or owner of “All the Way Up,”

and performs on the released version of the song.

       134.    Defendant Cartagena (and his alleged co-authors) has extensive connections with

this district due to his personal background as a New York City native, as well as because of his

profession as a recording artist known for being a figure in the New York hip-hop scene.

       135.    He also has significant connections to this district related to the release and

exploitation of “All the Way Up,” sufficient to confer upon this Court personal jurisdiction over

him and to let him and his agents be found in this district, which include not only exploitation,

release, and promotion of the song in this district, but also recording and production of the record

in New York City.

       136.    In early 2017, defendant Cartagena signed with defendant Roc Nation, Jay-Z’s

label, in New York City because of “All the Way Up”’s success, immediately before the release

of the album Plata O Plomo on which “All the Way Up” appears.


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        137.    The contact on the BMI (performing rights society) profile for defendant

Cartagena’s publishing entity, Joey and Ryan Music, is Jeffrey Einhorn, a Manhattan-based

criminal defense attorney employed by the Law Offices of Jeffrey Lichtman. Lichtman is

Cartagena’s criminal defense attorney.

        138.    Cartagena’s Joey and Ryan Music transferred some copyright ownership in “All

the Way Up” to Warner-Tamerlane, which has an office in this district through which it exploits

this song and is registered as a foreign entity with the New York Department of State.

        139.    Terror Squad Productions and Terror Squad Entertainment serve as defendant

Cartagena’s label, and are headquartered in New York and extensively exploit the song in this

district.

        140.    On information and belief Fat Joe’s label RNG, which distributes the song with

Empire, is headquartered in in this district. In addition, his company Sneaker Addict Touring is

also believed to be headquartered in this district, and exploits the song here.

        141.    Defendant Cartagena is also a client of Reach Music Publishing, which has

exploited the song through its office and companies registered in this district.

Defendant Karim Kharbouch (p/k/a French Montana)
  Excuse My French Music
  Excuse My French Music II

        142.     Defendant Kharbouch is a recording artist who is from New York City and is

believed to be a citizen of New York, but also has residences in New Jersey and California.

        143.    Defendant is a purported author and/or owner of “All the Way Up.”

        144.    Defendant (and his purported co-authors) has extensive connections with this

district due to his profession and personal background.




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        145.    Defendant has significant connections to this district related to the release and

exploitation of “All the Way Up,” sufficient to confer upon this Court personal jurisdiction over

him and to let him and his agents be found in this district

        146.    Defendant’s publishing entities Excuse My French Music and Excuse My French

Music II have their contact information on the performing rights organization ASCAP listed as

Sony/ATV Allegro and Sony/ATV Tunes LLC, subsidiaries of industry leader defendant

Sony/ATV Music Publishing which is headquartered in Manhattan, through which Defendant

exploits this song in this district.

Defendant Shandel Green (p/k/a Infared)
  Mr. Green Music

        147.     Defendant Green is a recording artist who is from New York City, and also

resides in Florida.

        148.    Defendant is a purported author and/or owner of “All the Way Up.”

        149.    Defendant (and his purported co-authors) have extensive connections with this

district due to his profession and personal background.

        150.    Defendant has significant connections to this district related to the release and

exploitation of “All the Way Up,” sufficient to confer upon this Court personal jurisdiction over

him and to let him and his agents be found in this district

        151.    On information and belief Defendant’s publishing entity Mr. Green Music, which

receives revenue for the exploitation of the song, is administered and run from this district.

        152.    Defendant is also a client of Reach Music Publishing, which has exploited the song

through its office and companies registered in this district.

Defendant Reminisce Smith Mackie (p/k/a Remy Ma)
  Remynisce Music

        153.    Reminsice Smith Mackie is from New York City, and is a resident of this district.

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       154.    Defendant was a member of Fat Joe’s New York group, Terror Squad, and is a

popular recording artist.

       155.    Defendant is a purported author and/or owner of “All the Way Up,” and

performs on the released version of the song.

       156.    Defendant (and her purported co-authors) has extensive connections with this

district due to her personal background, as well as because of her profession as a recording artist.

       157.    She also has significant connections to this district related to the release and

exploitation of “All the Way Up,” sufficient to confer upon this Court personal jurisdiction over

her and to let her and her agents be found in this district

       158.    She has a publishing imprint by the name of Remynisce Music, which is

headquartered in this district and owns the copyright in the song. Furthermore, Remynisce

Music’s agent is listed as BMG Rights Management on the copyright registrations, which is also

headquartered in this district.

       159.    Defendant is also a client of Reach Music Publishing, which has exploited the song

through its office and companies registered in this district.

Defendant Marcello Valenzano (p/k/a Cool)
  Dade Co. Project Music, Inc.

       160.    Defendant Valenzano is a producer and songwriter, and he and his partner Andre

Lyon have a studio in Miami.

       161.    It is believed that Valenzano and Lyon operate as a partnership, and are each

general partners. They are being sued in their individual capacities and as partners.

       162.    Defendant Valenzano has a longstanding relationship with Fat Joe since 2001.

       163.    Defendant is a purported author and/or owner of “All the Way Up.”




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       164.    Defendant (and his purported co-authors) has extensive connections with this

district due to his profession as a producer.

       165.    Defendant has significant connections to this district related to the release and

exploitation of “All the Way Up,” sufficient to confer upon this Court personal jurisdiction over

him and to let him and his agents be found in this district

       166.    Defendant Dade Co. Music Project Inc., a publishing entity for defendant

Valenzano, lists New York registered and headquartered defendant Universal Music - Z Tunes

LLC as its contact with the performing rights organization BMI.

Defendant Andre Lyon (p/k/a Dre)
 Po Folks Music

       167.    Defendant Lyon is a producer and songwriter, and he and his partner Valenzano

have a studio in Miami.

       168.    It is believed that Valenzano and Lyon operate as a partnership, and are each

general partners. They are being sued in their individual capacities and as partners.

       169.    Defendant Lyon has a longstanding relationship with Fat Joe since 2001.

       170.    Defendant is a purported author and/or owner of “All the Way Up.”

       171.    Defendant (and his purported co-authors) has extensive connections with this

district due to his profession as a producer.

       172.    Defendant and his publishing entity Po Folks has significant connections to this

district related to the release and exploitation of “All the Way Up,” sufficient to confer upon this

Court personal jurisdiction over him and to let him and his agents be found in this district

       173.    It is believed that defendant Lyon also uses lists New York registered defendant

Universal Music - Z Tunes LLC as its contact with the performing rights organization BMI,

which is headquartered in Manhattan.


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Defendant Edward F. Davadi, Jr. (p/k/a Edsclusive)

       174.    Defendant Davidi is a producer originally from New Orleans and now based out of

Miami, FL.

       175.    Defendant worked intensively with Plaintiff in 2014 and early 2015 on music.

       176.    In 2015, Davadi allegedly was introduced to Fat Joe, and also then allegedly

provided numerous beats to Infared prior to the session at Circle House studios.

       177.    Defendant is a purported author and/or owner of “All the Way Up.”

       178.    Defendant (and his purported co-authors) has extensive connections with this

district due to his profession as a producer.

       179.    Defendant has significant connections to this district related to the release and

exploitation of “All the Way Up,” sufficient to confer upon this Court personal jurisdiction over

him and to let him and his agents be found in this district

       180.    Defendant is also a client of Reach Music Publishing, which has exploited the song

through its office and companies registered in this district.

Warner-Tamerlane Publishing Corp.
Warner/Chappell Music, Inc.

       181.    The Warner defendants purport to own part of “All the Way Up” and administer

the copyrights for many of the other defendants.

       182.    Defendants are registered to do business in this State, and have offices in this

district, through which they exploit the song.

BMG Rights Management (US) LLC (d/b/a BMG Platinum Songs US)

       183.     Defendant BMG Rights Management purports to be an owner of the song and

also administers the copyrights for Defendants.




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        184.     Furthermore, BMG is listed as the agent for Remynisce Music, the publishing

entity for New York-based artist Remy Ma, on the copyright registrations.

        185.     BMG is also an agent for Cuts of Reach Music on the copyright registrations.

        186.     BMG is headquartered in this district and extensively exploits the song in and

from this district.

Sony/ATV Allegro
Sony/ATV Tunes LLC
Sony/ATV Music Publishing, Inc.

        187.     The Sony Defendants are headquartered in this district, and are listed agents for

defendant French Montana’s publishing entities on ASCAP.

        188.     They are also publishers of the song.

        189.     The Sony defendants exploit the song in this district, including on behalf of

defendant French Montana.

Reach Music Publishing Inc.
Reach Global Inc.
Songs of Reach Global
Cuts of Reach Music

        190.     The Reach defendants purport to own copyrights in the song, maintain offices in

this district, and heavily exploit the song here. They also publish the song.

        191.     Reach represents New York artists Fat Joe and Remy Ma, as well as Edsclusive.

        192.     Songs of Reach Global lists New York-based BMG as its agent on the copyright

registrations.




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First N Platinum Publishing
First N Gold Publishing, Inc.
Kobalt Songs Music Publishing
Kobalt Music Publishing America, Inc.

        193.     First N Platinum and First N Gold purport to be owners of the copyright, as does

Kobalt Songs Music Publishing which also administers the copyrights and acts an agent for these

entities.

        194.     Kobalt Songs Music Publishing is headquartered in this district, and through

Kobalt all four entities exploit the copyright in and from this district.

Songs of Universal Inc.
Universal Music-Z Tunes LLC (d/b/a Universal Music Z Songs)

        195.    The Universal defendants publish the song, maintain offices in this district, and

extensively exploit the song in this district.

        196.    Defendant Z Tunes acts as an agent for defendant Dade Co. Project Music, Inc. as

listed on the PRO registrations.


Roc Nation LLC
Roc nation Management LLC

        197.    Roc Nation is a label headquartered in this district, which signed Fat Joe in early

2017.

        198.    Roc Nation website states of Fat Joe:

                New York legend and cultural icon, Fat Joe released his joint album with
                fellow legend and icon, Remy Ma, titled Plata o Plomo, due February 17th
                via RNG / EMPIRE. Following the immense success of their GRAMMY‐
                nominated “All The Way Up” single (Best Rap Performance and Best Song)
                and “Cookin‘” single, they also released the video for their single, “Money
                Showers,” which has over 12 million streams to date. This is Fat Joe’s first
                release after joining the Roc Nation management family.

Roc Nation, https://rocnation.com/fat-joe/.

        199.    Roc Nation heavily exploits the song in and from this district.
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        200.    Furthermore, Plaintiff interviewed with Roc Nation in this district for several days

in late 2017. Friends and relatives of Defendants’ principal, Shawn Carter (Jay-Z), all indicated

they were well aware of Plaintiff’s role in writing “All the Way Up.”

        201.    However, Defendants continue to exploit the song without providing credit or

compensation to Plaintiff.

Empire Distribution, Inc.

        202.    Empire distributes and exploits “All the Way Up,” and does so in part through

an office and personnel in this district.

        203.    It distributes the song in connection with defendant RNG, which is also believed

to be headquartered in this district.


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                                 Jurisdiction & Venue

       204.        This action is brought, and subject matter jurisdiction lies within this Court,

pursuant to 28 U.S.C. §§ 1331 and 1338 and 2201. This Court has federal question jurisdiction in

this matter in that Plaintiffs seek declaratory and injunctive relief against the defendants named

herein, including but not limited to under Sections 501 through 505 of the Copyright Act of 1976,

17 U.S.C. § 101 et seq. The Court has pendant/supplemental jurisdiction over any claims

asserted herein which arise under state law in that such claims flow from a common nucleus of

operative fact.

       205.        Venue lies within this Court pursuant to 28 U.S.C. Sections 1391(b)(1) – (3),

1391(c), 1391(d), and 1400(a) in that all defendants reside in this venue and/or they or the agents

are found in this jurisdiction and/or they or their agents are subject to personal jurisdiction in this

District because they have sufficient minimum contacts with this jurisdiction related to the

exploitation of Plaintiff’s copyrights in “All the Way Up.” Furthermore, numerous Defendants

who control the conduct at issue are citizens of this district and/or are headquartered here

including but not limited to BMG Rights Management (US) LLC, Kobalt Songs Music

Publishing, and Sony/ATV Music Publishing; all other Defendants have consistent contacts with

defendant entities and their agents in this District (including related to the allegations in this

complaint) and all defendants can be found in this district. Those defendants, subsidiaries of

huge multination entertainment corporations, act as agents for all the other defendants.

       206.        The song at issue has been sold repeatedly within this district, a song which all the

Defendants claim to have an interest in. In addition, the song is also known as “New York City’s

hardest radio record in years.” See Tom Centeno, “How Miami’s Edsclusive Helped Produce

One    of    the     Summer’s     Hottest    Singles,”   Miami    New     Times    (June   16,   2016),


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https://www.miaminewtimes.com/music/how-miamis-edsclusive-helped-produce-one-of-the-

summers-hottest-singles-8527786.

       207.    All defendants have earned monies not only as a result of the exploitation of the

song in this district, but also because it was and is recorded, produced, promoted, administered

and distributed from this district.

       208.    Note that because New York City is a hub of the entertainment industry all of the

defendant companies and artists have extensive connections to this district, including related to

the exploitation of “All the Way Up” in this district. This is especially so because Fat Joe and

Remy Ma are considered to be part of the New York City hip-hop community.

       209.    The contact on the BMI (performing rights society) profile for defendant

Cartagena’s publishing imprint, Joey and Ryan Music, is Jeffrey Einhorn, a Manhattan-based

criminal defense attorney employed by the Law Offices of Jeffrey Lichtman. Lichtman is

Cartagena’s criminal defense attorney.

       210.    Defendant Cartagena is signed by the label Roc Nation LLC, which is

headquartered in Manhattan, and distributes the album Plata O Plomo which includes “All the

Way Up.” Roc Nation met with Plaintiff 2017 in Manhattan for several days, and Plaintiff’s

authorship of “All the Way Up” was discussed. Present were Memphis Bleek, a good friend of

Jay-Z, and DJ Rel Carter, Jay-Z’s nephew.

       211.    Cartagena’s imprint Joey and Ryan transferred some copyright ownership in “All

the Way Up” to Warner-Tamerlane, which has an office in this district and is registered as a

foreign entity with the New York Department of State.

       212.    Empire Distribution Inc., which distributed the single when it was first released,

has an office in New York City, and on information and belief Fat Joe’s label RNG is

headquartered in New York City.
                                                                                     Page 37 of 77
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       213.    Defendant Dade Co. Music Project Inc., a publishing entity for defendant

Valenzano, lists defendant Universal Music - Z Tunes LLC as its contact, which is a New York

corporation headquartered in Manhattan.

       214.    The contact for defendant Songs of Reach Global is defendant BMG Rights

Management, which is headquartered in New York.

       215.    Furthermore copyright registrations indicate that BMG Rights Management was

transferred ownership of the song, and is also listed the contact for defendant Remynisce Music

and Cuts of Reach Music.

       216.    Defendant Reach Music Publishing is a California company which has extensive

contacts with New York, has principal officers based in New York, and has engaged for years in

extensive litigation in this district. The company has done business from and in this district

related to this song, has an office here, and operates through subsidiary companies registered and

headquartered in this district, and also counts defendants Cartagena, Edward Davadi, and

Reminisce Smith Mackie as clients.

       217.    Cartagena’s imprint Joey and Ryan transferred some copyright ownership in “All

the Way Up” to Warner-Tamerlane Publishing Corp, which has an office in this district and is

registered as a foreign entity with the New York Department of State.

       218.    Defendant Songs of Universal, Inc. has an office in this district and is registered as

a foreign entity with the New York Department of State

       219.    Furthermore, “All the Way Up” is distributed by Empire Distribution Inc., which

has an office in New York.

       220.    Defendant Sony/ATV Tunes LLC and Sony/ATV Allegro are the PRO contact

for Excuse My French Music and Excuse My French Music II for “All the Way Up,” these

companies maintain offices in this district through which they exploit the song.
                                                                                        Page 38 of 77
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       221.    This district, as opposed to others, is a district where all Defendants are clearly

subject to personal jurisdiction and venue.

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                   Federal Claims for
                Authorship and Ownership
COUNT I – Declaration of Joint Authorship and/or
Authorship in the Composition of “All the Way Up”
                                                 Eric Elliott
                                                      v.
       Joseph Cartagena; Karim Kharbouch; Shandel Green; Reminisce Smith Mackie; Marcello Valenzano;
       Andre Lyon; Edward F. Davadi, Jr.; Joey and Ryan Music; Excuse My French Music; Excuse My
       French Music II; Mr. Green Music; Remynisce Music; Dade Co. Project Music, Inc.; Po Folks Music;
       Warner-Tamerlane Publishing Corp.; Warner/Chappell Music, Inc.; BMG Rights Management (US)
       LLC; Sony/ATV Allegro; Sony/ATV Tunes LLC; Sony/ATV Music Publishing, Inc.; Reach Music
       Publishing Inc.; Reach Global Inc.; Songs of Reach Global; Cuts of Reach Music; First N Platinum
       Publishing; First N Gold Publishing, Inc.; Kobalt Songs Music Publishing; Kobalt Music Publishing
       America, Inc.; Songs of Universal Inc.; Universal Music-Z Tunes LLC; Roc Nation LLC; Roc Nation
       Management LLC; Sneaker Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad
       Entertainment; RNG (Rap’s New Generation); Empire Distribution, Inc.


       222.    Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

       223.    This request for declaratory relief is being made pursuant to the Copyright Act

and 28 U.S.C. § 2201.

       224.    A joint work is a collaborative work and is “prepared by two or more authors with

the intention that their contributions be merged into inseparable or interdependent parts of a

unitary whole.” See Copyright Act, § 101, 201.

       225.    Musical compositions and sound recordings created by multiple authors are

generally joint works due to the inseparable nature of the artists’ contributions.

       226.    Here, the unfinished version and released version of “All the Way Up” are joint

works, and all authors of the composition intended to be joint authors.




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        227.     Plaintiff, defendant Green, and defendant Davidi, as well all other putative

authors of the composition such as defendant Cartagena,7 all contributed copyrightable

expression to the composition intending that their contributions be merged into an inseparable

and intertwined song, as described throughout this complaint.

        228.     All of Plaintiff’s contributions to the composition are independently

copyrightable.

        229.     Plaintiff, as a joint author, is entitled to indivisible, equal authorship of a joint

work with all his co-authors.

        230.     However, Defendants in this case have not properly credited Plaintiff as a co-

author of the composition in “All the Way Up.” Not only is he not listed on the album credits,

but his name is omitted from the numerous copyright registrations filed by Defendants for “All

the Way Up.” He is also not recognized by any performing rights organization or any entity

which distributes the income generated by the song.

        231.     Plaintiff therefore requests that this honorable court declare him a joint author of

all versions of the composition of “All the Way Up,” determine his authorship share and the

shares of the other bona fide co-authors, and order Defendants to fix all credits for the song as

well as modify/amend the copyright registrations to reflect Plaintiff’s joint authorship. Plaintiff

requests all other equitable relief that is necessary and/or just.

        232.     If for any reason Plaintiff is not determined to be a joint author of “All the Way

Up,” then Plaintiff alternatively requests that this honorable court declare that he is an author of

7
  The number and identity of the co-authors and/or authors of “All the Way Up” will be addressed in discovery.
Plaintiff has no way of knowing at this point if all the alleged co-authors actually contributed independently
copyrightable expression and are true joint authors. It appears that Defendants attempted to contractually divide the
authorship of the song amongst themselves (including Plaintiff’s share), with some alleged authors being given more
credit than others—including some authors who likely did no writing on the song but were included because of their
reputation. In the joint authorship determination, all bona fide joint authors share equally in the authorship of the
song; this will result in Plaintiff receiving a share equal to all other bona fide authors, some other authors having
their authorship shares reduced, some having their authorship shares increased, and other alleged authors being
excluded if they did not contribute any copyrightable expression to the song.
                                                                                                       Page 41 of 77
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his contributions in “All the Way Up,” determine his authorship share and the shares of the

other bona fide authors, and order Defendants to fix all credits for the song as well as

modify/amend the copyright registrations to reflect Plaintiff’s authorship. Plaintiff requests all

other equitable relief that is necessary or just.

        233.    Prior to the creation of “All the Way Up,” Plaintiff was never part of any

agreement or contract which governed the apportionment of authorship in the composition; the

default copyright authorship rules apply. To the extent that the Defendants had agreements

among themselves, those agreements have no legal effect because they attempted to give away

Plaintiff’s rights when he was not a party to any such agreement.

        234.    Because the authors’ contributions and rights in the song are interdependent the

authorship determination for all authors on the song must be done from scratch pursuant to the

default authorship rules to determine Plaintiff’s authorship share, including because on

information and belief not all of the putative authors listed on the copyright registrations actually

contributed copyrightable expression to the work and are legally entitled to be credited as co-

authors and/or authors.

        235.    Restated, Plaintiff contributed significant copyrightable expression to all versions

and iterations of the composition of “All the Way Up,” has authorship in that composition, and

must be credited and declared an author of one type or another after a jury determination.

        236.    At no point have the other authors and/or co-authors of the “All the Way Up”

repudiated Plaintiff’s joint authorship and/or authorship of the composition.

        237.    Plaintiff notes that he has been severely damaged by Defendants’ negligent failure

to properly credit him as an author. As a struggling songwriter, being listed as the co-writer of a

worldwide hit song is a major accomplishment and would have significantly benefited his career.

Defendants’ actions have deprived him of this credit, making this request for declaratory relief
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particularly necessary and just. Plaintiff is bringing claims infra for negligence against all other

authors and putative authors of “All the Way Up” for excluding him from being recognized as an

author, and therefore causing significant damage to his career.

                                              *****




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COUNT II – Declaration of Joint Ownership and/or
Ownership in Composition of “All the Way Up”
                                                    Eric Elliott
                                                         v.
         Joseph Cartagena; Karim Kharbouch; Shandel Green; Reminisce Smith Mackie; Marcello Valenzano;
         Andre Lyon; Edward F. Davadi, Jr.; Joey and Ryan Music; Excuse My French Music; Excuse My
         French Music II; Mr. Green Music; Remynisce Music; Dade Co. Project Music, Inc.; Po Folks Music;
         Warner-Tamerlane Publishing Corp.; Warner/Chappell Music, Inc.; BMG Rights Management (US)
         LLC; Sony/ATV Allegro; Sony/ATV Tunes LLC; Sony/ATV Music Publishing, Inc.; Reach Music
         Publishing Inc.; Reach Global Inc.; Songs of Reach Global; Cuts of Reach Music; First N Platinum
         Publishing; First N Gold Publishing, Inc.; Kobalt Songs Music Publishing; Kobalt Music Publishing
         America, Inc.; Songs of Universal Inc.; Universal Music-Z Tunes LLC; Roc Nation LLC; Roc Nation
         Management LLC; Sneaker Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad
         Entertainment; RNG (Rap’s New Generation); Empire Distribution, Inc.

         238.     Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

         239.     This request for declaratory relief is being made pursuant to the Copyright Act

and 28 U.S.C. § 2201.

         240.     A joint work is a collaborative work and is “prepared by two or more authors with

the intention that their contributions be merged into inseparable or interdependent parts of a

unitary whole.” See Copyright Act, § 101, 201.

         241.     Musical compositions and sound recordings created by multiple authors are

generally joint works due to the inseparable nature of the artists’ contributions.

         242.     Here, the unfinished version and released version of “All the Way Up” are joint

works, and all authors of the composition intended to be joint authors.

         243.     Plaintiff, defendant Green, and defendant Davidi, as well all other putative

authors of the composition such as defendant Cartagena,8 all contributed copyrightable


8
  The number and identity of the co-owners and/or owners of “All the Way Up” will be addressed in discovery.
Plaintiff has no way of knowing at this point if all the alleged co-authors actually contributed independently
copyrightable expression and are true joint authors. It appears that Defendants attempted to contractually divide the
authorship/ownership of the song amongst themselves (including Plaintiff’s share), with some alleged
authors/owners being given more credit than others—including some authors/owners who likely did no writing on
the song but were included because of their reputation. In the joint authorship/ownership determination, all bona fide
joint authors/owners share equally in the authorship/ownership of the song; this will result in Plaintiff receiving a
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expression to the composition intending that their contributions be merged into an inseparable

and intertwined song, as described throughout this complaint.

        244.     All of Plaintiff’s contributions to the composition are independently

copyrightable.

        245.     Plaintiff, as a joint author, is entitled to equal ownership of a joint work with all his

co-owners.

        246.     However, Defendants in this case have not properly credited Plaintiff as a co-

owner of the composition in “All the Way Up.” Not only is he not listed on the album credits,

but his name is omitted from the numerous copyright registrations filed by Defendants for “All

the Way Up.” He is also not recognized by any performing rights organization or any entity

which distributes the income generated by the song.

        247.     Plaintiff therefore requests that this honorable court declare him a joint owner of

all versions of the composition of “All the Way Up,” determine his ownership share and the

shares of the other bona fide co-owners (either original or by transfer), and order Defendants to

fix all credits for the song as well as modify/amend the copyright registrations to reflect

Plaintiff’s joint ownership. Plaintiff requests all other equitable relief that is necessary and/or

just.

        248.     If for any reason Plaintiff is not determined to be a joint owner of “All the Way

Up,” then Plaintiff alternatively requests that this honorable court declare that he is an owner of

his contributions in “All the Way Up,” determine his ownership share and the shares of the

other bona fide owners (original or by transfer), and order Defendants to fix all credits for the



share equal to all other bona fide authors/owners, some authors/owners having their authorship/ownership shares
reduced, some having their authorship/ownership shares increased, and other alleged authors/owners being excluded
if they did not contribute any copyrightable expression to the song. In addition, transfers of ownership in the song
would have necessarily transferred ownership of Plaintiff’s share, and thus are at least in part invalid.
                                                                                                      Page 45 of 77
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song as well as modify/amend the copyright registrations to reflect Plaintiff’s ownership. Plaintiff

requests all other equitable relief that is necessary or just.

        249.    Prior to the creation of “All the Way Up,” Plaintiff was never part of any

agreement or contract which governed the apportionment of ownership in the composition; the

default copyright ownership rules apply. To the extent that the Defendants had agreements

among themselves, and/or purported to transfer shares of the song, those agreements and/or

transfers have no legal effect because they attempted to give away Plaintiff’s rights when he was

not a party to any such agreement and/or transfer.

        250.    Because the authors’ contributions and rights in the song are interdependent the

authorship and/or ownership determination for all authors on the song must be done from

scratch pursuant to the default authorship/ownership rules to determine Plaintiff’s ownership

share, including because on information and belief not all of the putative authors listed on the

copyright registrations actually contributed copyrightable expression to the work and are legally

entitled to be credited as co-owners and/or owners.

        251.    Restated, Plaintiff contributed significant copyrightable expression to all versions

and iterations of the composition of “All the Way Up,” has ownership in that composition, and

must be credited and declared an owner of one type or another after a jury determination.

        252.    At no point have the other owners and co-owners of “All the Way Up”

repudiated Plaintiff’s joint authorship and/or authorship of the composition.

        253.    As a result of Defendants’ failure to recognize Plaintiff as a joint owner or owner

of the composition of “All the Way Up,” Plaintiff has suffered significant damage, including

Defendants holdings themselves out as the owners of Plaintiff’s shares of the song and taking the

profit derived from those shares for themselves. As a result, Plaintiff is bringing claims, inter alia,

for accounting, constructive trust, unjust enrichment, quantum meruit, conversion, moneys had
                                                                                          Page 46 of 77
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and received, breach of fiduciary duties, and negligence. Plaintiff is owns a share of all profits

directly or indirectly related to Defendants’ exploitation of the song, and is seeking those profits

via applicable state law causes of action.

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COUNT III – Declaration of Joint Authorship and/or
Authorship in the Sound Recording of “All the Way Up”
                                                 Eric Elliott
                                                      v.
       Joseph Cartagena; Karim Kharbouch; Shandel Green; Reminisce Smith Mackie; Marcello Valenzano;
       Andre Lyon; Edward F. Davadi, Jr.; Joey and Ryan Music; Excuse My French Music; Excuse My
       French Music II; Mr. Green Music; Remynisce Music; Dade Co. Project Music, Inc.; Po Folks Music;
       Warner-Tamerlane Publishing Corp.; Warner/Chappell Music, Inc.; BMG Rights Management (US)
       LLC; Sony/ATV Allegro; Sony/ATV Tunes LLC; Sony/ATV Music Publishing, Inc.; Reach Music
       Publishing Inc.; Reach Global Inc.; Songs of Reach Global; Cuts of Reach Music; First N Platinum
       Publishing; First N Gold Publishing, Inc.; Kobalt Songs Music Publishing; Kobalt Music Publishing
       America, Inc.; Songs of Universal Inc.; Universal Music-Z Tunes LLC; Roc Nation LLC; Roc Nation
       Management LLC; Sneaker Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad
       Entertainment; RNG (Rap’s New Generation); Empire Distribution, Inc.

       254.     Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

       255.     This request for declaratory relief is being made pursuant to the Copyright Act

and 28 U.S.C. § 2201.

       256.    A joint work is a collaborative work and is “prepared by two or more authors with

the intention that their contributions be merged into inseparable or interdependent parts of a

unitary whole.” See Copyright Act, § 101, 201.

       257.    Musical compositions and sound recordings created by multiple authors are

generally joint works due to the inseparable nature of the artists’ contributions.

       258.    Here, the unfinished version and released version of “All the Way Up” are joint

works, and all authors of the sound recordings intended to be joint authors.

       259.    When Plaintiff refers to his authorship in the subject sound recording he is

referring to all aspects of that recording, including the production, executive production, and

engineering he did on the recording.




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        260.     Plaintiff, defendant Green, and defendant Davidi, as well all other putative

authors of the sound recording such as defendant Cartagena,9 all contributed copyrightable

expression to the sound recording intending that their contributions be merged into an

inseparable and intertwined song, as described throughout this complaint.

        261.     All of Plaintiff’s contributions to the sound recording are independently

copyrightable.

        262.     Plaintiff, as a joint author, is entitled to indivisible, equal authorship of a joint

work with all his co-authors.

        263.     However, Defendants in this case have not properly credited Plaintiff as a co-

author of the sound recording in “All the Way Up.” Not only is he not listed on the album

credits, but his name is omitted from the numerous copyright registrations filed by Defendants

for “All the Way Up.” He is also not recognized by any performing rights organization or any

entity which distributes the income generated by the song.

        264.     Plaintiff therefore requests that this honorable court declare him a joint author of

all versions of the sound recording of “All the Way Up,” determine his authorship share and the

shares of the other bona fide co-authors, and order Defendants to fix all credits for the song as

well as modify/amend the copyright registrations to reflect Plaintiff’s joint authorship. Plaintiff

requests all other equitable relief that is necessary and/or just.

        265.     If for any reason Plaintiff is not determined to be a joint author of “All the Way

Up,” then Plaintiff alternatively requests that this honorable court declare that he is an author of

9
  The number and identity of the co-authors and/or authors of “All the Way Up” will be addressed in discovery.
Plaintiff has no way of knowing at this point if all the alleged co-authors actually contributed independently
copyrightable expression and are true joint authors. It appears that Defendants attempted to contractually divide the
authorship of the song amongst themselves (including Plaintiff’s share), with some alleged authors being given more
credit than others—including some authors who likely did no writing on the song but were included because of their
reputation. In the joint authorship determination, all bona fide joint authors share equally in the authorship of the
song; this will result in Plaintiff receiving a share equal to all other bona fide authors, some authors having their
authorship shares reduced, some having their authorship shares increased, and other alleged authors being excluded
if they did not contribute any copyrightable expression to the song.
                                                                                                       Page 49 of 77
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his contributions in “All the Way Up,” determine his authorship share and the shares of the

other bona fide authors, and order Defendants to fix all credits for the song as well as

modify/amend the copyright registrations to reflect Plaintiff’s authorship. Plaintiff requests all

other equitable relief that is necessary or just.

        266.     Prior to the creation of “All the Way Up,” Plaintiff was never part of any

agreement or contract which governed the apportionment of authorship in the sound recording;

the default copyright authorship rules apply. To the extent that the Defendants had agreements

among themselves, those agreements have no legal effect because they attempted to give away

Plaintiff’s rights when he was not a party to any such agreement.

        267.     Because the authors’ contributions and rights in the song are interdependent the

authorship determination for all authors on the song must be done from scratch pursuant to the

default authorship rules to determine Plaintiff’s authorship share, including because on

information and belief not all of the putative authors listed on the copyright registrations actually

contributed copyrightable expression to the work and are legally entitled to be credited as co-

authors and/or authors.

        268.     Restated, Plaintiff contributed significant copyrightable expression to all versions

and iterations of the sound recording of “All the Way Up,” has authorship in that sound

recording, and must be credited and declared an author of one type or another after a jury

determination.

        269.     At no point have the other authors and co-authors of the “All the Way Up”

repudiated Plaintiff’s joint authorship and/or authorship of the sound recording.

        270.     Plaintiff notes that he has been severely damaged by Defendants’ negligent failure

to properly credit him as an author. As a struggling songwriter being listed as the co-writer of a

worldwide hit song is a major accomplishment and would have significantly benefited his career.
                                                                                         Page 50 of 77
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Defendants’ actions have deprived him of this credit, making this request for declaratory relief

particularly necessary and just. Plaintiff is bringing claims infra for negligence against all other

authors and putative authors of “All the Way Up” for excluding him from being recognized as an

author, and therefore causing significant damage to his career.



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COUNT IV – Declaration of Joint Ownership and/or
Ownership in the Sound Recording of “All the Way Up”
                                                    Eric Elliott
                                                         v.
         Joseph Cartagena; Karim Kharbouch; Shandel Green; Reminisce Smith Mackie; Marcello Valenzano;
         Andre Lyon; Edward F. Davadi, Jr.; Joey and Ryan Music; Excuse My French Music; Excuse My
         French Music II; Mr. Green Music; Remynisce Music; Dade Co. Project Music, Inc.; Po Folks Music;
         Warner-Tamerlane Publishing Corp.; Warner/Chappell Music, Inc.; BMG Rights Management (US)
         LLC; Sony/ATV Allegro; Sony/ATV Tunes LLC; Sony/ATV Music Publishing, Inc.; Reach Music
         Publishing Inc.; Reach Global Inc.; Songs of Reach Global; Cuts of Reach Music; First N Platinum
         Publishing; First N Gold Publishing, Inc.; Kobalt Songs Music Publishing; Kobalt Music Publishing
         America, Inc.; Songs of Universal Inc.; Universal Music-Z Tunes LLC; Roc Nation LLC; Roc Nation
         Management LLC; Sneaker Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad
         Entertainment; RNG (Rap’s New Generation); Empire Distribution, Inc.

         271.     Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

         272.     This request for declaratory relief is being made pursuant to the Copyright Act

and 28 U.S.C. § 2201.

         273.     A joint work is a collaborative work and is “prepared by two or more authors with

the intention that their contributions be merged into inseparable or interdependent parts of a

unitary whole.” See Copyright Act, § 101, 201.

         274.     Musical compositions and sound recordings created by multiple authors are

generally joint works due to the inseparable nature of the artists’ contributions.

         275.     Here, the unfinished version and released version of “All the Way Up” are joint

works, and all authors of the sound recording intended to be joint authors.

         276.     Plaintiff, defendant Green, and defendant Davidi, as well all other putative

authors of the sound recording such as defendant Cartagena,10 all contributed copyrightable


10
   The number and identity of the co-owners and/or owners of “All the Way Up” will be addressed in discovery.
Plaintiff has no way of knowing at this point if all the alleged co-authors actually contributed independently
copyrightable expression and are true joint authors. It appears that Defendants attempted to contractually divide the
authorship/ownership of the song amongst themselves (including Plaintiff’s share), with some alleged
authors/owners being given more credit than others—including some authors/owners who likely did no writing on
the song but were included because of their reputation. In the joint authorship/ownership determination, all bona fide
joint authors/owners share equally in the authorship/ownership of the song; this will result in Plaintiff receiving a
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expression to the sound recording intending that their contributions be merged into an

inseparable and intertwined song, as described throughout this complaint.

        277.     All of Plaintiff’s contributions to the sound recording are independently

copyrightable.

        278.     Plaintiff, as a joint author, is entitled to equal ownership of a joint work with all his

co-owners.

        279.     However, Defendants in this case have not properly credited Plaintiff as a co-

owner of the sound recording in “All the Way Up.” Not only is he not listed on the album

credits, but his name is omitted from the numerous copyright registrations filed by Defendants

for “All the Way Up.” He is also not recognized by any performing rights organization or any

entity which distributes the income generated by the song.

        280.     Plaintiff therefore requests that this honorable court declare him a joint owner of

all versions of the sound recording of “All the Way Up,” determine his ownership share and the

shares of the other bona fide co-owners (either original or by transfer), and order Defendants to

fix all credits for the song as well as modify/amend the copyright registrations to reflect

Plaintiff’s joint ownership. Plaintiff requests all other equitable relief that is necessary and/or

just.

        281.     If for any reason Plaintiff is not determined to be a joint owner of “All the Way

Up,” then Plaintiff alternatively requests that this honorable court declare that he is an owner of

his contributions in “All the Way Up,” determine his ownership share and the shares of the

other bona fide owners (original or by transfer), and order Defendants to fix all credits for the



share equal to all other bona fide authors/owners, some authors/owners having their authorship/ownership shares
reduced, some having their authorship/ownership shares increased, and other alleged authors/owners being excluded
if they did not contribute any copyrightable expression to the song. In addition, transfers of ownership in the song
would have necessarily transferred ownership of Plaintiff’s share, and thus are at least in part invalid.
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song as well as modify/amend the copyright registrations to reflect Plaintiff’s ownership. Plaintiff

requests all other equitable relief that is necessary or just.

        282.     Prior to the creation of “All the Way Up,” Plaintiff was never part of any

agreement or contract which governed the apportionment of ownership in the sound recording;

the default copyright ownership rules apply. To the extent that the Defendants had agreements

among themselves, and/or purported to transfer shares of the song, those agreements and/or

transfers have no legal effect because they attempted to give away Plaintiff’s rights when he was

not a party to any such agreement and/or transfer.

        283.     Because the authors’ contributions and rights in the song are interdependent the

authorship and/or ownership determination for all authors on the song must be done from

scratch pursuant to the default authorship/ownership rules to determine Plaintiff’s ownership

share, including because on information and belief not all of the putative authors listed on the

copyright registrations actually contributed copyrightable expression to the work and are legally

entitled to be credited as co-owners and/or owners.

        284.     Restated, Plaintiff contributed significant copyrightable expression to all versions

and iterations of the sound recording of “All the Way Up,” has ownership in that sound

recording, and must be credited and declared an owner of one type or another after a jury

determination.

        285.     At no point have the other owners and co-owners of “All the Way Up”

repudiated Plaintiff’s joint authorship and/or authorship of the sound recording.

        286.     As a result of Defendants’ failure to recognize Plaintiff as a joint owner or owner

of the sound recording of “All the Way Up,” Plaintiff has suffered significant damage, including

Defendants holdings themselves out as the owners of Plaintiff’s shares of the song and taking the

profit derived from those shares for themselves. As a result, Plaintiff is bringing claims, inter alia,
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for accounting, constructive trust, unjust enrichment, quantum meruit, conversion, moneys had

and received, breach of fiduciary duties, and negligence. Plaintiff is owns a share of all profits

directly or indirectly related to Defendants’ exploitation of the song, and is seeking those profits

via applicable state law causes of action.

                                              *****




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                         State Law Claims for
                         Monies and Damages

COUNT V – Accounting

                                                  Eric Elliott
                                                       v.
        Joseph Cartagena; Karim Kharbouch; Shandel Green; Reminisce Smith Mackie; Marcello Valenzano;
        Andre Lyon; Edward F. Davadi, Jr.; Joey and Ryan Music; Excuse My French Music; Excuse My
        French Music II; Mr. Green Music; Remynisce Music; Dade Co. Project Music, Inc.; Po Folks Music;
        Warner-Tamerlane Publishing Corp.; Warner/Chappell Music, Inc.; BMG Rights Management (US)
        LLC; Sony/ATV Allegro; Sony/ATV Tunes LLC; Sony/ATV Music Publishing, Inc.; Reach Music
        Publishing Inc.; Reach Global Inc.; Songs of Reach Global; Cuts of Reach Music; First N Platinum
        Publishing; First N Gold Publishing, Inc.; Kobalt Songs Music Publishing; Kobalt Music Publishing
        America, Inc.; Songs of Universal Inc.; Universal Music-Z Tunes LLC; Roc Nation LLC; Roc Nation
        Management LLC; Sneaker Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad
        Entertainment; RNG (Rap’s New Generation); Empire Distribution, Inc.

        287.    Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

        288.    Plaintiff and Defendants are joint authors and joint owners of the composition and

sound recording of the joint work “All the Way Up.”

        289.    As joint authors Plaintiff and Defendants have a fiduciary relationship to each

other to account for all profits and monies and share them in parts equal to their share of co-

authorship.

        290.    Defendants have excluded Plaintiff from receiving any monies related to the

exploitation of “All the Way Up,” must therefore account to their co-author and owner, and

disgorge the profits he is entitled to.

        291.    If for any reason plaintiff is determined not to be a joint author and owner of “All

the Way Up,” but instead an author and owner, Defendants also owe a fiduciary duty to Plaintiff

as they are in possession of the monies earned by Plaintiff. They must account for this money and

disgorge to him the money he is due.
                                                                                                    Page 56 of 77
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       292.   Note that if some Defendants currently listed on the copyright registrations as

authors are determined not to have any authorship in “All the Way Up,” they have accrued

money that belongs to Plaintiff, owe him a fiduciary duty, and must account for these monies.



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COUNT VI –              Constructive Trust
                                                 Eric Elliott
                                                      v.
       Joseph Cartagena; Karim Kharbouch; Shandel Green; Reminisce Smith Mackie; Marcello Valenzano;
       Andre Lyon; Edward F. Davadi, Jr.; Joey and Ryan Music; Excuse My French Music; Excuse My
       French Music II; Mr. Green Music; Remynisce Music; Dade Co. Project Music, Inc.; Po Folks Music;
       Warner-Tamerlane Publishing Corp.; Warner/Chappell Music, Inc.; BMG Rights Management (US)
       LLC; Sony/ATV Allegro; Sony/ATV Tunes LLC; Sony/ATV Music Publishing, Inc.; Reach Music
       Publishing Inc.; Reach Global Inc.; Songs of Reach Global; Cuts of Reach Music; First N Platinum
       Publishing; First N Gold Publishing, Inc.; Kobalt Songs Music Publishing; Kobalt Music Publishing
       America, Inc.; Songs of Universal Inc.; Universal Music-Z Tunes LLC; Roc Nation LLC; Roc Nation
       Management LLC; Sneaker Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad
       Entertainment; RNG (Rap’s New Generation); Empire Distribution, Inc.

       293.    Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

       294.    Plaintiff is due significant monies from the exploitation of “All the Way Up,” and

those monies are currently in the possession of Defendants.

       295.    Plaintiff asks that all this money, as well as all future monies earned, be held in

constructive trust until the appropriate distribution can be determined.

       296.    All monies properly due to Plaintiff but not distributed should be distributed and

otherwise awarded to Plaintiff.

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COUNT VII – Unjust Enrichment

                                                 Eric Elliott
                                                      v.
       Joseph Cartagena; Karim Kharbouch; Shandel Green; Reminisce Smith Mackie; Marcello Valenzano;
       Andre Lyon; Edward F. Davadi, Jr.; Joey and Ryan Music; Excuse My French Music; Excuse My
       French Music II; Mr. Green Music; Remynisce Music; Dade Co. Project Music, Inc.; Po Folks Music;
       Warner-Tamerlane Publishing Corp.; Warner/Chappell Music, Inc.; BMG Rights Management (US)
       LLC; Sony/ATV Allegro; Sony/ATV Tunes LLC; Sony/ATV Music Publishing, Inc.; Reach Music
       Publishing Inc.; Reach Global Inc.; Songs of Reach Global; Cuts of Reach Music; First N Platinum
       Publishing; First N Gold Publishing, Inc.; Kobalt Songs Music Publishing; Kobalt Music Publishing
       America, Inc.; Songs of Universal Inc.; Universal Music-Z Tunes LLC; Roc Nation LLC; Roc Nation
       Management LLC; Sneaker Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad
       Entertainment; RNG (Rap’s New Generation); Empire Distribution, Inc.

       297.    Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

       298.     To establish unjust enrichment, the plaintiff must establish that the Defendants

benefitted, at the plaintiff’s expense, and equity and good conscience require restitution.

       299.    Plaintiff is an author and owner of the composition and sound recording in “All

the Way Up.”

       300.    Defendants have earned significant monies from the exploitation of the song, a

share of which is properly due to Plaintiff, but which they are improperly retaining when the

money should be paid to Plaintiff.

       301.    Equity and good conscience require that Defendants provide to Plaintiff all monies

they earned from Plaintiffs’ share of the song.

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COUNT VIII – Quantum Meruit

                                                 Eric Elliott
                                                      v.
       Joseph Cartagena; Karim Kharbouch; Shandel Green; Reminisce Smith Mackie; Marcello Valenzano;
       Andre Lyon; Edward F. Davadi, Jr.; Joey and Ryan Music; Excuse My French Music; Excuse My
       French Music II; Mr. Green Music; Remynisce Music; Dade Co. Project Music, Inc.; Po Folks Music;
       Warner-Tamerlane Publishing Corp.; Warner/Chappell Music, Inc.; BMG Rights Management (US)
       LLC; Sony/ATV Allegro; Sony/ATV Tunes LLC; Sony/ATV Music Publishing, Inc.; Reach Music
       Publishing Inc.; Reach Global Inc.; Songs of Reach Global; Cuts of Reach Music; First N Platinum
       Publishing; First N Gold Publishing, Inc.; Kobalt Songs Music Publishing; Kobalt Music Publishing
       America, Inc.; Songs of Universal Inc.; Universal Music-Z Tunes LLC; Roc Nation LLC; Roc Nation
       Management LLC; Sneaker Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad
       Entertainment; RNG (Rap’s New Generation); Empire Distribution, Inc.

       302.      Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

       303.      Quantum meruit concerns the (1) performance of services in good faith, (2) the

acceptance of the services by the recipient, (3) an expectation of compensation, and (4) the

reasonable value of the services.

       304.      Here, Plaintiff authored a song (both composition and sound recording) with the

other alleged authors of “All the Way Up,” including Infared and Fat Joe. He did this in good

faith always expecting, and being assured, full credit and compensation as all other authors on the

song received.

       305.      Defendants accepted the services rendered by Plaintiff, as demonstrated by the

release and exploitation of the song “All the Way Up.”

       306.      Plaintiff is therefore entitled to the reasonable value of the services he provided,

which in that equivalent to his fair share the profits of the song, and the value to his career of a

collaboration with Fat Joe.

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COUNT IX – Conversion
                                                 Eric Elliott
                                                      v.
       Joseph Cartagena; Karim Kharbouch; Shandel Green; Reminisce Smith Mackie; Marcello Valenzano;
       Andre Lyon; Edward F. Davadi, Jr.; Joey and Ryan Music; Excuse My French Music; Excuse My
       French Music II; Mr. Green Music; Remynisce Music; Dade Co. Project Music, Inc.; Po Folks Music;
       Warner-Tamerlane Publishing Corp.; Warner/Chappell Music, Inc.; BMG Rights Management (US)
       LLC; Sony/ATV Allegro; Sony/ATV Tunes LLC; Sony/ATV Music Publishing, Inc.; Reach Music
       Publishing Inc.; Reach Global Inc.; Songs of Reach Global; Cuts of Reach Music; First N Platinum
       Publishing; First N Gold Publishing, Inc.; Kobalt Songs Music Publishing; Kobalt Music Publishing
       America, Inc.; Songs of Universal Inc.; Universal Music-Z Tunes LLC; Roc Nation LLC; Roc Nation
       Management LLC; Sneaker Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad
       Entertainment; RNG (Rap’s New Generation); Empire Distribution, Inc.

       307.    Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

       308.    A conversion takes place when someone, intentionally and without authority,

assumes or exercises control over personal property belonging to someone else, interfering with

that person's right of possession.

       309.     Here, Plaintiff has a right of possession to his intellectual property (his shares of

the song) and/or also the monies his contributions to the song earned.

       310.    Defendants, by knowingly and/or intentionally excluding him from sharing in the

ownership, authorship, and/or receipt of profits from the song, have dominion over his property

and are interfering with his attempts to possess it.

       311.    This is manifestly to Plaintiff’s detriments and in derogation of his rights.

       312.    Plaintiff therefore demands that all his property be returned and/or disgorged to

him.



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COUNT X – Moneys Had and Received
                                                 Eric Elliott
                                                      v.
       Joseph Cartagena; Karim Kharbouch; Shandel Green; Reminisce Smith Mackie; Marcello Valenzano;
       Andre Lyon; Edward F. Davadi, Jr.; Joey and Ryan Music; Excuse My French Music; Excuse My
       French Music II; Mr. Green Music; Remynisce Music; Dade Co. Project Music, Inc.; Po Folks Music;
       Warner-Tamerlane Publishing Corp.; Warner/Chappell Music, Inc.; BMG Rights Management (US)
       LLC; Sony/ATV Allegro; Sony/ATV Tunes LLC; Sony/ATV Music Publishing, Inc.; Reach Music
       Publishing Inc.; Reach Global Inc.; Songs of Reach Global; Cuts of Reach Music; First N Platinum
       Publishing; First N Gold Publishing, Inc.; Kobalt Songs Music Publishing; Kobalt Music Publishing
       America, Inc.; Songs of Universal Inc.; Universal Music-Z Tunes LLC; Roc Nation LLC; Roc Nation
       Management LLC; Sneaker Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad
       Entertainment; RNG (Rap’s New Generation); Empire Distribution, Inc.

       313.     Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

       314.    The elements of moneys had and received are: 1) defendant received money

belonging to plaintiff; (2) defendant benefited from the receipt of the money; and (3) under

principles of good conscience defendant should not be allowed to retain that money.

       315.    Here, all Defendants have received money which belongs to Plaintiff, due to his

contributions and/or ownership of the song “All the Way Up.”

       316.    Defendants have benefitted from the receipt of that money, being substantially

enriched as a result, and therefore also have better opportunities in life and in their careers.

       317.    The principles of good conscience require that defendants not be allowed to retain

monies that they did not earn and that is not theirs, and that it be returned to Plaintiff.

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COUNT XI – Breach of Fiduciary Duties
                                                 Eric Elliott
                                                      v.
       Joseph Cartagena; Karim Kharbouch; Shandel Green; Reminisce Smith Mackie; Marcello Valenzano;
       Andre Lyon; Edward F. Davadi, Jr.; Joey and Ryan Music; Excuse My French Music; Excuse My
       French Music II; Mr. Green Music; Remynisce Music; Dade Co. Project Music, Inc.; Po Folks Music;
       Warner-Tamerlane Publishing Corp.; Warner/Chappell Music, Inc.; BMG Rights Management (US)
       LLC; Sony/ATV Allegro; Sony/ATV Tunes LLC; Sony/ATV Music Publishing, Inc.; Reach Music
       Publishing Inc.; Reach Global Inc.; Songs of Reach Global; Cuts of Reach Music; First N Platinum
       Publishing; First N Gold Publishing, Inc.; Kobalt Songs Music Publishing; Kobalt Music Publishing
       America, Inc.; Songs of Universal Inc.; Universal Music-Z Tunes LLC; Roc Nation LLC; Roc Nation
       Management LLC; Sneaker Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad
       Entertainment; RNG (Rap’s New Generation); Empire Distribution, Inc.

       318.    Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

       319.    The elements of breach of fiduciary duties are a fiduciary relationship, misconduct

by the defendant, and damages that were directly caused by the defendant’s misconduct.

       320.    Here, Defendants have fiduciary duties to Plaintiff as his co-authors/authors, co-

owners/owners, because they are attempting to claim his shares and rights of the song as their

own, and/or because they are currently in possession of monies that are rightfully his.

       321.    In claiming Plaintiff’s monies and credit for their own, by excluding him from

sharing in the fruits of their joint labors returned by the success of “All the Way Up,” and/or by

making misrepresentations and/or material omissions to him and others about Plaintiff’s role in

creating “All the Way Up” they have wronged Plaintiff and deprived him of what is rightfully

his.

       322.    Defendants’ conduct have directly and/or proximately caused Plaintiff damages,

including but not limited to lack of credit, lack of compensation, harm to his music career, and

lost opportunities.

                                                   *****



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COUNT XII – Negligence/Gross Negligence
                                                 Eric Elliott
                                                      v.
       Joseph Cartagena; Karim Kharbouch; Shandel Green; Reminisce Smith Mackie; Marcello Valenzano;
       Andre Lyon; Edward F. Davadi, Jr.; Joey and Ryan Music; Excuse My French Music; Excuse My
       French Music II; Mr. Green Music; Remynisce Music; Dade Co. Project Music, Inc.; Po Folks Music;
       Warner-Tamerlane Publishing Corp.; Warner/Chappell Music, Inc.; BMG Rights Management (US)
       LLC; Sony/ATV Allegro; Sony/ATV Tunes LLC; Sony/ATV Music Publishing, Inc.; Reach Music
       Publishing Inc.; Reach Global Inc.; Songs of Reach Global; Cuts of Reach Music; First N Platinum
       Publishing; First N Gold Publishing, Inc.; Kobalt Songs Music Publishing; Kobalt Music Publishing
       America, Inc.; Songs of Universal Inc.; Universal Music-Z Tunes LLC; Roc Nation LLC; Roc Nation
       Management LLC; Sneaker Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad
       Entertainment; RNG (Rap’s New Generation); Empire Distribution, Inc.

       323.     Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

       324.     The elements of negligence are duty, breach, causation, and damages.

       325.     Here, all Defendants owed Plaintiff a duty to properly credit him as an author

and/or owner (with PROs, the copyright office, labels, imprints, distributions, and those who

administer copyrights on their behalf, and elsewhere), especially because they were also owners

and/or authors on “All the Way Up,” and because they were filing and/or benefitting from the

copyright and PRO registrations for “All the Way Up.”

       326.     That duty was breached by Defendants when they failed to properly credit and/or

compensate him for his contributions to the song.

       327.     Defendants knew or should have known that Plaintiff was a joint author/author

and/or joint owner/owner of “All the Way Up.”

       328.     Plaintiff notes that he has been severely damaged by Defendants’ negligent failure

to properly credit him as an author, separate and distinct from a failure to provide him

compensation.




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        329.    As a struggling artist, being credited as a writer on a worldwide hit song is a major

accomplishment and would have been a major break, launched and benefitted his career, and

significantly changed his life.

        330.    Defendants’ conduct was reckless and outrageous.

        331.    Defendants’ negligent actions and omissions have deprived him of this credit,

thereby causing irreparable harm. Defendants’ negligent action and omission have also caused

Plaintiff to be deprived of compensation.



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COUNT XIII – Fraud/Negligent Misrepresentation

                                             Eric Elliott
                                                  v.
        Joseph Cartagena; Shandel Green; Joey and Ryan Music; Mr. Green Music; Sneaker
        Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad Entertainment;
        RNG (Rap’s New Generation)

        332.    Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

        333.    Fraud requires (1) a statement by Defendant, (2) falsity of statement, (3) intent to

deceive, (4) reasonable reliance by plaintiff on the false statement, and (5) injury sustained as a

result of the reliance.

        334.    Fraud must be pled with particularity.

        335.    Here, Fat Joe (aka Joseph Cartagena) made the following statements (with the

participation of Infared) to Plaintiff:

                a. Around March 6, 2016 - Telephone - (1) Plaintiff was going to get “some
                   bread” up front and more later, and (2) that Fat Joe was going to work with
                   Plaintiff to make more hits and help Plaintiff’s career.

                b. March 14, 2016 - In Person, IHOP in South Beach - (1) that the $5,000 was
                   just the beginning of the payments, (2) that more money was coming, (3) that
                   the authors of the song would not see a lot of money, and (4) that Fat Joe was
                   going to work with Plaintiff to make music, help his career, and take him under
                   his wing.

        336.    Cartagena knew these statements were false when he made them, and he intended

Plaintiff to rely upon these statements.

        337.    They were made by Cartagena both individually and on behalf of entities he

controls, including Sneaker Addict Touring LLC and Joey and Ryan Music. Cartagena also made

the statements on behalf of Shandel Green, whom he had an agreement with to defraud Plaintiff.

Green wrote the song with Plaintiff, and then gave it to Cartagena his friend and often

collaborator, and therefore was intimately aware of Plaintiff’s rights in the song.
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        338.   Plaintiff reasonably relied upon Defendants’ statements to his detriment. Plaintiff

took $5,000 as initial, partial compensation for his work on “All the Way Up” fully believing that

(1) Defendants would be providing more money later, (2) that Plaintiff was going to be properly

credited, and (3) that Fat Joe was going to closely collaborate with Plaintiff on music as part of a

incredible relationship and promote him in the world of hip hop.

        339.   Plaintiff believed that he had resolved the misunderstanding, that Fat Joe was

going to do right by him, and that he would get his just due. Plaintiff is unsophisticated in the

music business, and a struggling artist, facts which the consummate industry insider Fat Joe knew

and exploited. Fat Joe caused him to relax his vigilance and lull him into a sense of false security.

        340.   Defendants never provided Plaintiff any other money, and never worked on music

with him or promoted him. It is apparent that Defendants were leading Plaintiff on for the

purpose of refusing to credit him on “All the Way Up” and taking Plaintiff’s ownership and

compensation for themselves.

        341.   Following Defendants’ misrepresentations to Plaintiff, Defendants filed

registrations with performing rights organization, the Copyright Office, and other entities which

excluded Plaintiff as an author and owner of “All the Way Up.”

        342.   As a direct and/or proximate result of Plaintiff’s reliance on Defendants’ false

statements, Plaintiff has been severely damaged, including but not limited to, in the following

ways:

               a. He was excluded from authorship and ownership on “All the Way Up,”

               b. He did not receive full compensation for his contributions to “All the Way
                  Up”

               c. He was unable to protect his rights as his song was being exploited

               d. He lost extremely lucrative and invaluable career opportunities, including but
                  not limited to working with a world renowned artist, and capitalizing on having
                  authored a hit song.
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          343.   Because of his reliance on Defendants’ false statements he is not recognized as the

author and creator of a hit song, but instead is struggling as a part time short order cook at a

restaurant. Because of his reliance on Defendants’ false statements he has not received fair

compensation for his work on the song. These are damages of which he is owed the fair value.

          344.   Defendants engaged in a calculated effort to lead Plaintiff on for the singular

purpose of cheating him out of his just credit and compensation to take it for themselves.

          345.   In the alterative, Defendants owed plaintiff a duty as a result of their work on the

song together, including fiduciary duties, and the misrepresentations they made were negligent

and/or reckless and lacked diligence, and caused the reliance of Plaintiff and damages described

above.

          346.   This predatory conduct is contemptuous and should be harshly condemned.

Punitive damages should also be awarded for their gross misconduct, and to deter future bad faith

actors.

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COUNT XIV – Civil Conspiracy

                                            Eric Elliott
                                                 v.
       Joseph Cartagena; Shandel Green; Joey and Ryan Music; Mr. Green Music; Sneaker
       Addict Touring LLC; Terror Squad Production, Inc.; Terror Squad Entertainment;
       RNG (Rap’s New Generation)

       347.    Plaintiff incorporates by reference and realleges the preceding paragraphs of this

complaint.

       348.    For a civil conspiracy claim there must be a cognizable underlying tort, a corrupt

agreement between the alleged conspirators regarding the tort, intent to participate in the

furtherance of a plan or purpose, and an overt act in furtherance of the agreement.

       349.    Here, Plaintiff has alleged numerous underlying torts against Defendants,

including Fraud, Negligent Misrepresentation, Negligence, Conversion, and/or Moneys Had and

Received, for which they are liable.

       350.    Cartagena (and his companies) and Green (and his companies) had a corrupt

agreement to defraud and deprive Plaintiff of credit, compensation, and ownership of the hit song

“All the Way Up” so that they could keep credit, compensation, and ownership for themselves.

Restated, they had an agreement to steal what belonged to Plaintiff.

       351.    At all points Defendants and their companies participated in this fraudulent plan

with the purpose to defraud Plaintiff.

       352.    Remember that defendant Green wrote “All the Way Up” with Plaintiff at Circle

House studio in Miami, and then gave the song to Fat Joe in late 2015, early 2016.

       353.    Here, Defendants took many overt actions to steal from and defraud Plaintiff,

including




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           a. Cartagena telephoning him (in coordination with Green) multiple times on or
              around March 6, 2016 to make false statements about compensating and working
              with Plaintiff,

           b. Cartagena (in coordination with Green) making false statements on March 14,
              2016 to Plaintiff at an IHOP about compensating and working with Plaintiff,

           c. Cartagena and Sneaker Addict Touring (in coordination with Green) providing a
              misleading check to Plaintiff to deceive Plaintiff into thinking more money would
              be paid and that Fat Joe was being level with Plaintiff,

           d. Cartagena (in coordination with Green) convinced and induced Plaintiff (who has
              no business experience) to sign a document on March 14, 2016, without providing
              him a chance to review the document with an attorney, based on false statements,

           e. Cartagena (in coordination with Green) bringing Plaintiff to a studio in or around
              late March 2016 but placing him in a small room with broken equipment and
              refusing to work with him,

           f. Cartagena giving Plaintiff a shout out at a concert on May 26, 2016 to attempt to
              distract him from Cartagena’s deception,

           g. providing false and misleading information to ASCAP, BMI, and the Copyright
              Office which omitted Plaintiff as an author and owner of “All the Way Up” and
              which gave Plaintiff’s credit, compensation, and ownership to Defendants,

           h. Green giving an interview around October 2016, where he claimed he created key
              parts of the song by himself, and where when asked who he collaborated with, he
              omitted any mention of Fly Havana, and

           i. Green attempting to convince Plaintiff in late 2018 at the club Mr. Jones that he
              and Cartagena had not ripped Plaintiff off.

       354.     Plaintiff is requesting that defendants Shandel Green and Joseph Cartagena and

their entities be found liable for civil conspiracy, as well as punitive damages.

       355.    This predatory, cheating conduct is rampant in the entertainment business, and a

strong message must be sent to those who would seek to cut rightful authors out of receiving their

fair share. Credit must be given where it is due, and those who deliberately seek to take another’s

work and compensation should be punished severely, both as a lesson to the perpetrators and as a

deterrent to others who may seek to do likewise.



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                                       RELIEF REQUESTED
          WHEREFORE, Plaintiff demands judgment in its favor and against Defendants, jointly

and severally, on all counts and claims, and requests declaratory relief, equitable relief, and/or

compensatory damages in an amount in excess of this court’s jurisdictional limitations, thereby

guaranteeing Plaintiff a jury trial, exclusive of interests and costs, as well as prejudgment interest,

post judgment interest, delay damages, costs, and such equitable relief as the Court deems

necessary; and requests that this Court determine and declare that Plaintiffs be awarded for all

counts:

          a.       Declaratory judgment;

          b.       Compensatory damages for lost earning, both past and future,

          c.       Equitable relief;

          d.       Punitive damages to punish the Defendants for their extreme and outrageous and
                   malicious conduct, self-interest, and duplicitous behavior [against Joseph
                   Cartagena; Karim Kharbouch; Shandel Green; Reminisce Smith Mackie;
                   Marcello Valenzano; Andre Lyon; Edward F. Davadi, Jr.; Joey and Ryan Music;
                   Excuse My French Music; Excuse My French Music II; Mr. Green Music;
                   Remynisce Music; Dade Co. Project Music, Inc.; Po Folks Music; Sneaker Addict
                   Touring LLC; Terror Squad Production, Inc.; Terror Squad Entertainment; RNG
                   (Rap’s New Generation)];

          e.       Exemplary damages to set an example for others;

          f.       Attorneys’ fees and court costs;

          g.       Delay damages; and/or

          h.       Any other relief available under the Copyright Act, Such other and further relief
                   and/or equitable relief that this Court deems just and/or necessary.

                                                 *****

                                                      Respectfully submitted,
                                                      Francis Alexander, LLC
                                                      /s/ Francis Malofiy
                                                      /s/ AJ Fluehr
                                                      Francis Malofiy, Esquire
                                                      Alfred J. Fluehr, Esquire
                                                      Moving for Pro Hac Vice Admission
                                                                                           Page 71 of 77
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                              280 N. Providence Road | Suite 1
                              Media, PA 19063
                              T: (215) 500-1000
                              F: (215) 500-1005
                              Law Firm / Lawyers for Plaintiff
                              /d/ March 4, 2019____




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       Spoliation Notice – Preservation of Evidence

       Plaintiff hereby demands and requests that Defendants take necessary actions to ensure

the preservation of all documents, records, social media, communications, whether electronic or

otherwise, items and things in their possession or control, or any entity over which any party to

this action has control, or from whom any party to this action has access to, any documents,

items, or things which may in any manner be relevant to or relate to the subject matter of the

causes of action and/or the allegations of this complaint.




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                          Jury Trial Demand

Plaintiff hereby demands a 12-person jury trial.




                                       *****

                                          Respectfully submitted,
                                          Francis Alexander, LLC
                                          /s/ Francis Malofiy
                                          /s/ AJ Fluehr
                                          Francis Malofiy, Esquire
                                          Alfred J. Fluehr, Esquire
                                          Moving for Pro Hac Vice Admission
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                                          /d/ March 4, 2019____




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                       Certificate           of Service
       I hereby state that a true and correct copy of the foregoing Civil Action

Complaint is being served in accordance with the Federal Rules of Civil Procedure on the

following:


       Joseph Anthony Cartagena (p/k/a Fat Joe)
       Joey and Ryan Music;
       Sneaker Addict Touring LLC;
       11 E 44th St., #501
       New York, NY 10017

       Terror Squad Productions, Inc.;
       Terror Squad Entertainment;
       RNG (Rap’s New Generation);
       1411 Broadway, 39th Floor
       New York, NY 10018

       Karim Kharbouch (p/k/a French Montana)
       Excuse My French Music
       Excuse My French Music II;
       25 Madison Ave | 24th Floor
       New York, NY 10010

       Shandel Green (p/k/a Infared)
       Mr. Green Music;
       1745 Broadway | 19th Floor
       New York, NY 10019

       Reminisce Smith Mackie (p/k/a Remy Ma)
       Remynisce Music
       1745 Broadway | 19th Floor
       New York, NY 10019

       Marcello Valenzano (p/k/a Cool)
       Dade Co. Project Music, Inc.
       Andre Lyon (p/k/a Dre)
       Po Folks Music
       1755 Broadway, #6
       New York, NY 10019

       Edward F. Davadi, Jr. (p/k/a Edsclusive);
       1745 Broadway | 19th Floor

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New York, NY 10019

Warner/Chappell Music, Inc.
Warner-Tamerlane Publishing Corp.
1633 Broadway
New York, NY 10019

BMG Rights Management (US) LLC (d/b/a BMG Platinum Songs
US);
1745 Broadway | 19th Floor
New York, NY 10019

Sony/ATV Allegro
Sony/ATV Tunes LLC;
SONY/ATV Music Publishing, Inc.
25 Madison Ave | 24th Floor
New York, NY 10010

Reach Global Inc.
Songs of Reach Global
Reach Music Publishing Inc.
Cuts of Reach Music
1745 Broadway | 19th Floor
New York, NY 10019

First N Platinum Publishing
First N Gold Publishing, Inc.
Kobalt Songs Music Publishing
Kobalt Music Publishing America, Inc.;
220 W 42nd Street | 11th Floor
New York, NY 10036

Songs of Universal Inc.;
Universal Music-Z Tunes LLC (d/b/a Universal Music Z Songs);
1755 Broadway, #6
New York, NY 10019

Roc Nation LLC;
Roc Nation Management LLC;
1411 Broadway, 39th Floor
New York, NY 10018

Empire Distribution, Inc.
1755 Broadway # 6, New York, NY 10019

                                  *****

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                              Respectfully submitted,
                              Francis Alexander, LLC
                              /s/ Francis Malofiy
                              /s/ AJ Fluehr
                              Francis Malofiy, Esquire
                              Alfred J. Fluehr, Esquire
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                              /d/ March 4, 2019____




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                Exhibit 1
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UNFINISHED                         RELEASED
VERSION OF SONG                    VERSION OF SONG

HOOK (Infared)                     HOOK (Infared)
Nothing can stop me                Nothing can stop me
I’m all the way up                 I’m all the way up
All the way up                     All the way up
I’m all the way up                 I’m all the way up
I’m all the way up                 I’m all the way up
Nothin’ can stop me                Nothin’ can stop me
I’m all the way up                 I’m all the way up

VERSE I (Fly Havana)               VERSE I (French Montana)
Shawty what you want               Shawty what you want
I got what you need                Shawty what you need
See we smoking loud                My niggas run game
Ya we rolling trees                We ain’t never leave
In the club going up               Countin’ up this money
On that Medellin                   We ain’t never sleep
Bring ya girls with you            You got V12
Cause you know I’m with my team    I got 12 V’s
Pop bottles                        Got bottles
Got weed                           Got weed
Got molly                          Got molly
(I'm all the way up)               (I'm all the way up)

PRE-HOOK (Fly Havana)              PRE-HOOK (French Montana)
Shawty what you want               Shawty what you want
I got what you need                I got what you need
Shawty what you want               Shawty what you want
I got what you need                I got what you need
Shawty what you want               Shawty what you want
I got what you need                I got what you need

HOOK (Infared)                     HOOK (Infared)
I’m all the way up                 I’m all the way up
I’m all the way up                 I’m all the way up
I’m all the way up                 I’m all the way up
I'm all the way up                 All the way up
Nothing can stop me                Nothing can stop me
I'm all the way up                 I'm all the way up
All the way up
All the way up
I'm all the way up
Nothing can stop me
I'm all the way up

VERSE II (Infared)                 VERSE II (Fat Joe)
Like a middle finger               For my niggas with Bentley
If your girl do                    Coupes and Rolexes
Some freaky shit                   Kicked the bitch out the room
Then you can bring her             And gave her no breakfast
Shawty popped a molly              Had to stash the jewels
Took her clothes off               These bitches so reckless
Damn girl                          Keep my hoes on cruise
You just a show off                I'm talking naughty things
Ain’t no two sons                  Shorty uptown showin
I want three                       Off her things
And if I’m spending money          Couldn’t take it off
Then you know she fuckin me        So I gave her um change
She said I got a big dick          She call me top shot-ta
I gotta take it slow               Yeah I keep a few things
And she never ever seen            Champion sound
No shit like this before because   Yeah I got a few rings
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PRE-HOOK/HOOK - VARIATION (Infared)      PRE-HOOK/HOOK - VARIATION (Fat Joe)
I’m all the way up                       And I’m all the way up
So y’all can stay up                     And you can stay up
Cause if you ask any body where I live   And if you ask anybody where I live
They point to the Hills and tell you     They point to the Hills and say
Go all the way up                        Go all the way up
Go all the way up                        Go all the way up

HOOK (Infared)                           HOOK (Infared)
I’m all the way up                       I’m all the way up
I’m all the way up                       I’m all the way up
Nothing can stop me                      Nothing can stop me
I'm all the way up                       I'm all the way up

VERSE III (Spanish Girl)                 VERSE III (Remy Ma)
Esta en la sima                          Just left the big house
Esta en la sima                          To a bigger house
Esta en la sima                          Ain’t have a girlfriend
Nadia los para                           But the bitch is out
Na mas para arriba                       Chanel croc bag
Esta en la sima                          Shit ain't even out
Esta en la sima                          With the gold chains
Esta en la sima                          Himalayan Birkin Cocaine
Nadia los para                           Lit it up Pac shit
Na mas para arriba                       I hit 'em up
                                         I’m talkin color money
                                         Puple Yen and blue Dirham
                                         I got brown Lira
                                         I aint talkin bout Ross bitch
                                         I’m that nigga on
                                         Viagra dick that means

                                         PRE-HOOK/HOOK - VARIATION (Remy Ma)
                                         I'm all the way up
                                         And you can stay up
                                         P.O. say I can't get high hopped
                                         Hopped in the helicopter Uber said
                                         Go all the way up
                                         Go all the way up

                                         HOOK (Infared)
                                         I’m all the way up
                                         I’m all the way up
                                         Nothing can stop me
                                         I'm all the way up

                                         VERSE IV (French Montana)[VERSE I REPEATED]
                                         Shawty what you want
                                         Shawty what you need
                                         My niggas run game
                                         We ain’t never leave
                                         Countin’ up this money
                                         We ain’t never sleep
                                         You got V12
                                         I got 12 V’s
                                         Got bottles
                                         Got weed
                                         Got molly
                                         (I'm all the way up)

                                         PRE-HOOK (French Montana)
                                         Shawty what you want
                                         Shawty what you need
                                         Shawty what you want
                                         Shawty what you need
                                         Shawty what you want
                                         Shawty what you need
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                                 HOOK (Infared)
                                 I’m all the way up
                                 I’m all the way up
                                 I'm all the way up
                                 I'm all the way up
                                 Nothing can stop me
                                 I'm all the way up
                                 All the way up
                                 I'm all the way up
                                 I'm all the way up
                                 Nothing can stop me
                                 I'm all the way up
